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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
689 EATERY CORP., etc., et ano.,                               :

                                            Plaintiffs,      :

                 - against -                                 :     Civil Action No.
                                                                   02 CV 4431 (LJL)
THE CITY OF NEW YORK, et al.,                                :

                                             Defendants. :
---------------------------------------------------------------X
59 MURRAY ENTERPRISES INC., etc., et al.,                      :

                                            Plaintiffs,      :

                 - against -                                 :     Civil Action No.
                                                                   02 CV 4432 (LJL)
THE CITY OF NEW YORK, et al.,                                :

                                             Defendants. :
---------------------------------------------------------------X
CLUB AT 60TH STREET, INC., etc., et al.,                       :

                                            Plaintiffs,      :

                 - against -                                 :     Civil Action No.
                                                                   02 CV 8333 (LJL)
THE CITY OF NEW YORK,                                        :

                                             Defendant.        :
---------------------------------------------------------------X
336 LLC., etc., et al.,                                        :

                                            Plaintiffs,      :

                 - against -                                 :     Civil Action No.
                                                                   18 CV 3732 (LJL)
THE CITY OF NEW YORK,                                        :

                                             Defendant.        :
---------------------------------------------------------------X
                                      VOLUME 1 OF EXHIBITS TO
                      JOINT REQUEST AND STIPULATIONS REGARDING
                                 THE TAKING OF JUDICIAL NOTICE



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                EXHIBITS VOL. 1 of 10; pp. JNR-000020 – JNR-000153
                            (Exhibits 1 through 16)

                                                                                       Page(s)

Exhibit 1    Resolution 1322-1995, approving Text Amendment N 950384                000020-000034
             ZRY ("1995 Ordinance")

Exhibit 2    Resolution 0208-1998, approving Text Amendment N                       000035-000056
             980135 ZRY ("1998 Amendments"), as published in Vol. I
             of Proceedings of the Council of the City of New York
             for the period January 7, 1998 to June 24, 1998

Exhibit 3    Resolution 2096-2001, approving Text Amendment                         000057-000074
             N 010508 ZRY ("2001 Amendments"), as signed by
             the Clerk of the City of New York

Exhibit 4    Portions of NYC Council Resolution 586-2004 amending                   000075-000081
             ZR 32-01 & 42-01 regarding adult businesses ("2004
             Amendments"), as published in Vol. II, Part I, of Proceedings
             of the Council of the City of New York for the period
             July 21, 2004 to December 15, 2004

Exhibit 5    Portions of NYC Council Resolution 0499-2010 amending, ZR              000082-000089
             32-01 & 42-01 regarding adult businesses) ("2010 Amendments"),
             as published in Vol. II, Part I, of Proceedings of the Council
             of the City of New York for the period July 29, 2010 to
             December 20, 2010

Exhibit 6    Directive 14 of 1975 (authorizing professional certification of        000090-000092
             Applications for building permits by licensed architects and
             engineers)

Exhibit 7    OPPN 17/95 (prohibiting professional certification of adult            000093-000108
             establishment filings by architects and engineers)

Exhibit 8    OPPN 6/96 (reaffirming prohibition on professional certification of    000109-000116
             Filings related to adult establishments by architects and engineers)

Exhibit 9    OPPN 7/96 (defining "place of worship" and "church")                   000117-000118

Exhibit 10   OPPN 8/96 (describing methodology for measuring separation             000119-000123
             between adult establishments and other adult establishments
             or sensitive receptors)




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                                                                                Page(s)


Exhibit 11   OPPN 4/98 (definition of "substantial portion")                   000124-000126

Exhibit 12   OPPN 6/98 (explanation of "substantial portion" in context of     000127-000129
             multiple uses)

Exhibit 13   OPPN 5/02 (clarifying procedures for professional certification   000130-000135
             by architects and engineers)

Exhibit 14   OPPN 7/02 (clarifying procedures for securing “priority”          000136-000138
             as an adult establishment)

Exhibit 15   OPPN 1/04 (clarifying procedures for professional certification   000139-000149
             by architects and engineers)

Exhibit 16   Bulletin 2016-010 (describing procedures for professional         000150-000153
             certification)




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                                                             Exhibit A




                 TIIE COUNCIL OF THE CITI' OF NEW YORK
                          RESOLUT ION NO. 1322


Resolution approving the decision of the City Planning Commission on Applicatio n
No. N 950384 ZRY, an amendmen t to the text of the Zoning Resolution regarding
adult establishm ents (L. U. No. 713).

By Council Members £island and McCaffrey

       WHEREA S, the City Planning Commissio n filed with the Council on September
22. 1995 its decision dated September 18. 1995 ("the Decision''), on the application
submitted by the Departmen t of City Planning and the City Council Land Use Committee,
pursuant to Sections 200 and 201 of the New York City Charter. for an amendment to
the text of the Zoning Resolution (Application No. N 950384 ZRY) (the "Applicatio n");

      WHEREA S, on March 21. 1995, the Land Use Committee adopted Resolution No.
897, which approved the filing of the Applicatio n with the City Planning Commission;

       WHEREA S. the Decision is subject to review and action by the Council pursuant
to Section 197-<l(b)(l) of the City Charter:

      WHEREA S, the Council held a public hearing on the Decision and Application on
October 19 and 20, 1995;

       WHEREA S. the Council has considered the land use implications and other policy
issues relating to the Decision and Application ; and

       WHEREA S, the Council has considered the relevant environmental issues and the
negative declaration , issued on April 10, 1995 (CEQR No. 95DCP038Y);

RESOLVED:

          .
on the environme nt;
                                                                                r~
       The Council finds that the action described herein will have no significant e ~
                                                                                /
                                                                            ~
                                                                         /;;:.c~,

                              JNR-000020                                                 0349
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N 950384 ZRY
Reso. No. 1322 (L.L. No. 713)



       Pursuant to Sections 197-d a.nd 200 of t!-:e City Charter :ind on the basis of the
Decision and Application the Council approves the Decision; and

       The Zoning Resolution of the City of New York, effective as of December 15,
196 I, and as subsequently amended, is further amended as follows:


\fatter in Gra}16ne is new. to be added:
\1aner in strikeout is old. to be deleted:
\,1aner within # :;: is defined in Section 12-10:
*** indicates where unchanged text appears in the Zoning Resolution
                                                 ***
11 H3
For adult est.eblfah:merus

?>fotwithstfi:fldirig B:fi)' other pro.,·ision of this Resolution to the contraf)', in ail distners, 110
new #adulf estahltlhmem# shall be allowed, nor shall fl.fly e:ci3ting ."'adult estftblfahment#
be #enlfrfged# or #"extended,-:', nor :;hall at1)' ".'non confurmiflg use# be ehftflged to ftfl
#adult estttblishmem#, for B::ft irHeri.m oerioo'
                                                        of one "'Cfrf
                                                                ,
                                                                      from the effective date of th:is
a.rn endrn ctH.

                                                 ***
12-10
DEFINITIONS
                                                 ***
.\dult Establishmcn£
A.n ''adult cst.eblishmcru" is a. #t1se# which indttdes~

        Adult bookstore tm e.'ltabli:ihmcnt l.fa£ed ifl U.'le Group 6 or 12 ha•,in~ as it

                or video e,pe,. ftffl witieh e,e,bli,hfflent is et"'omttrily ""'
        public because it excludes minors bj' rea.son of age; or,
                                                                                          •pe7
        9ignificftflt portion of it5 stoek ifl trade books. magfl.2ines, other perio<l.iea.19, ftl.rM,
        ,!it!e,
                                                                                             ~
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                                                                                          J:L<
                                                                                  /
                                                                                      7
                                     JNR-000021                                                            0350
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N 950384 ZRY
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(b)    .\dull eating or drinking csrnb!i:ihment iln eating. ,:;r drinking esrnblishmem listed
       in Use Croup 6.\, 6C. 10 or 1:::.\ which customarii'.r' prc'.Jents topless or nude
       dM1cers. :Jfriprxrs or 5!mila.r i:rlferrnirm1ents. and ,i,,·hieh e:n.ablishment is
       customarily no£ open to the public because it e.'<eludes minors b~· reaso11 of age~
       01'-;


(e)    ,\dult theater an estftb!ishment listed in Use Group 8 or 13 which custornarii)'
       presents motion pictures. films. ·,ideotapes. slide shov,·s, or li,·e performMces
       fe1Hurin1; topless or rrndc d.ttncers, j!rippers or similar emerrfrin.mem:i, ir.eludiflg M
       esrobifahmenr '"''here 5ueh emeftfrinment i5 ~·iewed from an enclosure, and wmeh
       C5tfl.blishmcrH is eustomari1:,· not open to the public because it e:<eludc9 minors by
       reason of age.

Adult Esfilllih..rneot
Aii!'ad w{:estahllihment" is a commercialestablfahment where a .l! substantial po.riion.~:: of
the esta.&lishmentfocludes an; adti.fr book store, .ad.ult eating ordnnking est.ablishriient;
adult theater~ or Other adttlf commercial. establishment; or any combinationthereof/ias
defined:~fow~ ·                                                ·       ··     ·              · .,. ·· · · ·




(1}    books •. magaiines. periodicals orotber printed matter· which are characieriw.fby
       an/emphasis•
       "~e4          upon the depiction or description of "specified
                  <11.1<1to11U~~ ~'.'rPr~ · · · ·. . . .                      . . acri~TT
                                                           .. . . ·. . . . . .sexual . ......... "tir




                                                                                        /




                                      JNR-000022                                                              0351
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(2)      films, motion pictures. v-id.eo c1sset1es. slides or other phorographic reproduciicfos
         which are characterized by an emphasis upon tbe depiction or description of
         "~ified sexual activities" or "specified. anatomical areas"~ or,              ···

(3)      employees who. as part of their employment. regularly expose tn. patrons
         ,.specified anatomkaI areas. tt :ind

which is not customarily open to the general public during such features because.it
excludes min.ors by reason of age.    ·        ·     ·               · ·· · .·. ···· · ··
                .· .. ·..............·   '"




(c)   An adulLtheater is a theater which regularly features one or more of the foll~\\'ing:
(1)      films; motion pid.trres. video cas.sen.es, slµJes or· similar plloiograJJhlc
         rep~oductions characterized. by an emphasis on the depictfori or-descripµo.ii:9{
         ,.~~fied ~;xuar aqivities~·or··"s~~e<i. '11l<lttJ~~tr:o!;                                    . ................. ·····••····

(2) ••·.·•.•·· live~oril:laocescharacteriiedby.aii•ernphasis orr!'t~citred.anafu                             nu&u/areast:
               qr:s*ifi~ ~xualactivities~,   and .. . ... .··.·••·········· .... ·..... ..... . . . . . . ..    ..w. ,. •••




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ex~~ ~~o~ l>y. r1;aspn of.1g~~             ··· · ···· · ·    ·    ·          · · · ··········· ····· · · · ····

An adilli '.ilieater sha11•·.·.include· commercial . estabi.isfunenis where such mateifa1s):or
~rf~~ are view,ed fl:oprintlividual. e~i9~s~




                                              JNR-000023                                                                                0352
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"Specified anatomical areas" are: \l) less than completely and opaquely concealed: {a}
human genitals, pubic region, (b) buman buttock. anus, or (c) fernale.breas1 below a.point
immediately above the topof the areota.; or (ii) human male genitals.in a discernibly
turgid state, even if completely and opaquely concealed~                         ·· · · .•. ·

F&'. the purpose of determining whether a. "substantial. portion~ of an establish.merit
ind ti.des· an· adult bookstore, adult eatirig_or drinking establishment, adtil(thearer;        or.otfler
adult commerciaLestabl ishment; or combination thereof. the foUowffig'>factors:$8}1(:be
considered~ 0) the amount of #floor area#·and #cellar# space accessible to                   customeis
and allocated.to:;such #uses#;- and (2} the amount oL#ffoor areaff ·am:i ~Ilaftrsp#e
accessible to customers and allocared to such uses as compared to the total #fltiora.rea#
and #(;ei[ar# ·sp.ice a.::cessible ;(} customers. inthe ~{@-~~                   . .     ......·. ·.·..•.




establishment; . .                .              ... .     ..·....· ...


                                                  ***
32-00
GENERAL PROVISIONS

In order to carry out the purposes and provisions of this Resolution, the #uses# of
#buildings or other structures# and of tracts of land have been classified and combined
into Use Groups. A brief statement is inserted at the start of each Use Group to describe
and clarify the basic characteristics of that Use Group. Use Groups 1, 2, 3, 4, 5, 6, 7,
8, 9, 10, 11, 12, 13, 14, 15 and 16, including each #use# listed separately therein, are
permitted in #Commercial Districts# as indicated in Sections 32-11 to 32-25, inclusive

~f,Eifif~;t;~~W?~ri~l~l~~}~ll1fil~l,D

                                        JNR-000024                                                          0353
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32--01
Special Provisions for Adult Establishment s

In addition to the applicable regulations for the. #uses# listed in a permitted Use Group~
#adult ~lishrnents ~ shaHbe subject to ~f?1:fowiilg provisions:                      · ········

(a)    #adult                                  . Iri ct..'CZ;
               estahllihmem.s# are not permitted
       C6.-:3 Districts:                                              . .. c4,
                                                          . ... .... CJ,                      .. . ..CO-:?tor
                                                                                       ... . C&-L
                                                                           ......·.... C5.             .. .·...·.•.•.· ·.


(b)    m C~4; . C6~5. C6~. C&-7, C6-8. C6:,9. CT or CS: Districts~·. . ftamill
       estabHS'hmen ts#:shaltbeJoc ated.aLleast 500feetfr6m .:adiurch, a.#school#[a




                                          JNR-000025                                                                        0354
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(f}         ;adult establishments# which existed on the effective date of this amendment and
            conform to all provisions of the. Zoning Resolution relating to #adult
            establishments# other than the provisions of alI or any combination of paragraphs
            (c), (d), and (e) of this Section, shall not be subject to the provisions of Section
            52a7 (Termination of A.dulr EstablishmentsL

                                                                                                                         ***
32-60
SIGN REGULATIONS
                                                                                                                         ***
32-62
Permitted Accessory Business Signs
Cl, C2, CJ, C4, CS. C6, C7, CS

In all districts, as indicated. #accessory business signs# are permitted subject to the
provisions of the following Sections:
                                                                                                                         ***
Section 32qi9{8c.½ilti6naJ.                                                                   Accessory Business Sign Regylitfonsfor Adult Establishments}
                                                                                                                         ***
32::09
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:~~r111:i.~r~:~~~!1~~hm3~~~~?~l~'•¥~,x~t~
         ....... ·· ···•·.•.•:• -::~-:-:.:-:-:-:-:.:.:-:-.-,;:-:-:-::-.-:-:-:-·-::--•:. ...    -· ·.. :•.·.·.·   .   .   -· ....-   .....:.:-:-;-:-:":-:-:-;-·.·   ... ,· -·. ·-·-·•.-:-:-;-;-.:::-;-::.- .




                                                                                                                 JNR-000026                                                                                   0355
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#adult establishments# shall not exceed, in the aggregate, three times the #street#" frontage
of the #zoning lot#;- but in oo event more than 150 square feet per- establlihrnent •. : of
which no more than 50 square feet may be #illuminated# non-#flash.ing signs#,

                                                                                       ***
..Q-00
GENERAL PROV1SIONS

ln order to carry out the purposes and provisions of this Resolution. the ;;uses# of
#buildings or other structures;, and of tracts of land have !:>€en classified and combined
into Use Groups. A brief statement is inserted at the start of each Use Group to describe
and clarify the basic characteristics of that Use Group. Use Groups 4B, .:IC, 5. 6A. 6B,
7, 8, 9B. 9C. 10B. lOC, 11. 12A, 12C, 12D, 12E, 13. 14, 16, 17 or 18. including each
#use# listed separately therein, and certain #uses# listed in Use Groups JA, 6C, 9A, l0A
or 12B are permitted in #Manufacturi ng Districts# as indicated in Sections 42-11 to 42-
15. inclusive-:-.; ~~ that any such #use# which is also an /fadulfcitibllihmerii:~:!s11an:
~f~1:,f            1.ll~ to the,Pf~yisio~ of§ection 42~1 (S~~ J:r9visioI1Sfci;:~~~


42-01
S~
 ~.~
      1Provisfonsfor An ult Btablisfunerits
     11
          .....·<• ..·•...·. . . . .·......·.·. . . . . . . .·.... ·.............. .




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$!:;;illl,i•• r.t;f~Lifli~~
                                                                                                      ff.
                                                                                             ///,,/



                                                                      JNR-000027                            0356
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Ml-tiM in whkh new #residences#, new ;;joint living-work quarters for mists# or new
#loft dwellings# are allowed, under the provisions of the Zoning Resolution. as-of-right
or by special .pennir or authorization. However, on or after the effective date of this
amendment. an #adclt esrabltshrnentfr that otherwise complies with the provision: of this
paragraph shall not be rendered #non-conforming# "if a church or a #school#" is established
on or a~er April 10,J995 wirhin 500 feet of such #adult establishment#;

(c)    #adult establishments# shalLbe located at least 500 feet from another-#adult
       ·estabfuhment#t

fd)    no more thari one #adult establishment# ~rmirted ~<le.r this ~ n s~ll~
       locatea
             4?rL.1 #zoning tot#:

        thatitadult establishments# sha!Lnor exceed in totaElO,dOO square reeilor:Wfiloor.
       ..tf~,:~~ ~pace. r1ot 4.s.ed for encl~ 5.1~r~~~•?rmechank.al.:¢4w.im¥Pt.~
(ff:   -#adult esiab1tsfu:neiiis# whiche:iisted on me:• effecrive da&Lo f •trus ameridmenhand


       ·!~m;~;~iH~~~itJ;~•
                                            ***
42-50
SIGN REGULA TIO NS
                                            ***
42-52
Pennitte<l Accessory Business Signs or Advertising Signs
Ml, M2, M3

In all districts, as indicated, #accessory business signs# or #advertising signs# are
permitted with no restriction on size, illumination or otherwise. except as o!:herwise
provided in Section 42-54 (Special Provisions Applying along District Boundaries) and
                                                                                               ,;,·./
                                                                                         /-'
                                                                                        ,7
                                                                                   ;;




                                  JNR-000028                                                            0357
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subject to the provisions of Section 42-53 (Additionai Regulations for Advertising Signs}
and Section 42 55 H.dditionfr! Regubtion:i for Business and ,\d'iertising E:ig.r1s in Cef't'lirt
\1a.nufoeturing Di3triet:i). and Section 42-55 (Additional Accessory Business Sigr.i
Regulations for Adult Establishments).                                               ···


                                              ***
42,-55

Additional. Accessory Business Sign Reguia.tfons for Arl~ Eta.blijh,menrs
MI. M2; M3




ARTICLE V
NON-CONFORMING USES AND NON-COMPLYING BUILDINGS

CHAPTER 1
STATEMENT OF LEGISLATIVE INTENT

51--00
PURPOSE OF REGULATIO NS GOVERNING NON-CONFORMING USES AND
NON-COMPLYING BUILDINGS
                                             ***
In the case of a few objectionable non-conforming uses which are detrimental to the
character of re:,idenee ~ districts iri!~hlch.~€91~es~;~@. a reasonable statutory




                                    JNR-000029                                                     0358
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period of life is established for such uses, in order to permit the owner gradually to make
!tis plans for the future during the period when r,e the ov,rner is allowed to continue the
non-conforming uses of rus the property, thereby minimizing any toss. while at the same
time assuring the public that the district in which such non-conformity exists will
eventually benefit from a more nearly uniform character.

                                                                                                                 ***

52-30
CH.A.i'-:GE OF NON-CONFOR.Jv1L~G CSE

                                                                                                                 ***

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                                                                                                                 ***
52-70
TERMINATION                                                                                    OF      CERTAIN   NON-CONFORM ING   USES   AFTER
AMORTIZATION

52-71
General Provisions

In specified districts, specific #non-conforming signs#, specific #non-conforming uses#
of #land with minor improvements#, specific #non-conforming# objectionable #uses#,
certain specific types of #uses# involving open storage or salvage ;                                                               '.~BfR!!BB
#arllil~estiili~~ or certain #non-conforming public parking lots# may be continu
.. .,,~:v.-,..,-...~;·•..-••• _.. , , ..•....•• -.. ··.·.-· .•·. ·•··.·· .. ··•·:•.•:••,· .· _. '·•·




                                                                                                                                   /

                                                                                                         JNR-000030                               0359
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for a reasonable period of useful life as set forth in this Chapter. provided that after the
expiration of that period such #non--{;onforming uses# shall terminate in accordance with
the provisions of this Chapter.

                                                                                                           ***
52-73
Non-conforming Signs
                                                                                                           ***
52/734
Noo..:confonning accessory business signs for adultestablishmenrs




                                                                                                           ***
SZ:/77
iehniHaHoo:of'°ABilltEsfabl.ishmenis
 .;.;:: ..:.:-:-.-::.••.·   .   .   .----:-.-.-.·-·>. ··. ·. ._ .· ·.·-.·.·.· ... ·...... -:~:.- .· .. .




52-80
                                                                                                           ***
REGULATIONS APPL YING TO NON-CONFORMING SIGNS

                                                                                                           ***


                                                                                                                    /

                                                                                                       JNR-000031       0360
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 52-82
 Non-Conforming Business Signs

Any #non-<:onforming accessory business sign#, except a #'flashing signff or a: #siW#
subject totheprovisions of Section 52~734 (Nofr-conforming accessory business sign.sfor
adultestabllih.ments), may be structurally altered, reconstructed, or replaced in the.same
location and position, provided that such structural alteration, reconstruction, or
replacement does not result in:

(a)       the creation of a new #non-conformity# or an increase in the degree of #non-
          conformity# of such #sign#:

(b)       an increase in the #surface area# of such #sign#: or

(c)       an increase in the degree of illwnination of such #sign#.

                                             ***
72-01
General Provisions

The Board of Standards and Appeals (referred to hereinafter as the Board) shall have the
power, pursuant to the provisions of the New York City Charter and of this Resolution,
after public notice and hearing:

                                            ***




                                            ***
'ZZ-410                                                                                      /



f~~Al!<lt'P;t!lt"Js~TA.8~1e~lifil'!to/·
                                                                                ✓ if·




                                    JNR-000032                                                   0361
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Reso. '.'io. 1322 (L.U. No. 713)

The. Board of Standards and Appeals· may permit any #non-conforming# #adult
establishmenttt· or any #non-<::onforming accessory business sign# for an #adult
establishment.it to continue .for a limited period of time beyond that provided,fo.cd.ri
Section 52~734. (Non~conforming accessory business signs for adult establishments}or
Section 52~]7{Termination of Adult &-iablishments). provided that:                 ·

(a}   am application is made· . by the owner                                                               of such establishment to the '.Boarcµof
      · standards. and Appeals aLJeast 120 days prior to the date , on whic.h)~
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Reso. ;'lo. 1322 (L.U. No. 713)




Adopted.


      Office of the City Clerk, }
      The City of New York, } ss.:


Council of The City of New York on October 25, 1995, on file in     ;t
         r hereby certify that the foregoing is a true copy of a Resolution pas1d by The
                                                                          offi1.
                                                                  ~'

                                                             City Clerk, Oerk of Cotmcil




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                     wor.kd ay at e time when thei exun~ r. has co.-np} eted the zoning
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                 b. After ll"'eV'iew by the Chief Enginee-1"" 01"' his- assista nt and
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     to c::.:ite of fntng. Building Notice epplie:iti or.s that ,are not filed· by
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     exe..--nined comple:: ely, and per:-:-:~ts shall not be issued u:.tit the ap-
     pli.ca::icn s are a;:l;:>rcved.        Filing o:' such ap;,licciti or:is shall b~ • limiti:c'
     in Accordan ce with departme rit res;ulatio .-.s.

      4. Post· F>el"'mit Review. After issuance of· per-mits , a.pplicat! cr.s
    . w~ll be checked for complia.." lce wltri. applicab le                  laws         e..s the work load·
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     Sv;,':!rh1 tenoer.t.      .E>-...!'..-r:i:.a::ic:"\ o: an appliceti on so selected sh.!:.11 be
    co:-nplet e. Where non-com pliMce is found, correcti ve action shall
    be req.;ired . Ap;,\icat ions shall be Si:el~:::e.:! r.t r-anC:~m so as to
    pr-c.·.;id.s r-.!:pl""e!Sente.tive sam;:,iinr :.· The. tn.1:n::,er of sa"'l"\pli."'\gs .o~ll
    he surhcien t to permit the &rough Supe,....in tendent to he in:'oN'l"'led
    as to the extent of complian ce witH such ap;:,licat ions.

    5. 1nspecti: ,,-,. When an owner or- lessee respo.-u' ib1e for per-For-nia:-i::e
    of the work elects to do so. he may e.m;:iloy s. r-egistel" 'ed v-<:hitec t
   . c,I"' licensedpr::>~ession.al engineer- t:C> mt11<~. inspeet:.e.""..:::; di.J;-tn~ ~ress
    of the work and ur,,:,n c-om;:::-letio:"':. l.--: :.:..-::h ec.s.;:;_. U·i= owner- or lesse.e
    sha.11 notify th: B.JUC:irig Oepar-trn ent of the name and address •of such
    ,i.rchitec t or enginee" ". Whe~ any work is found no!: in complian ce
    with the plans or not •in compli~ ce with e.;:,;,Hcab le .laws, it shall be
    cor-r-ecte d and .if not co:--recte d, the de::,al""trr'lent shalt be notified by
    the architec t or enginee,. . and a viola.tio:"I requirin g eliminat ion of the
    defectiv e worl< shall be 'filed. Except 'wt-ten.su ch no~ces' ar-e received ,
    inspectio ns by depar:m ent tns;:,ac:ta rs             wm
                                                        be made on a r~o.-n basis.,
    as staffing per-mits .                                                                                   ""

    6. Reporl:s . Controll ed tnspectio .-i reports and O"'..her- re;:,orts relat'L.-,~                 .-
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   shall ~ filed by an al"'Chitec t or engi.."'l~er before the work is reported
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   as c::ornplet ed. .In ac:lditi0"'\ 1 he shall file a cel'"'tifica ti.on that the work
   was perform ed ln accordan ce with requi)"'f! ments or appilcab le la>A-s~
   except as reported .othervvi se..              l.J?:m
                                                  re:::-eipt o'F all                re;:,or:s
                                                                               from the
   architec t O!"' engir:iee r, ineluding the re;,oM. of completi on., the appl i-
   cation shell be filed with the complete d e.ppHcat i.ons.                ·

   7.    Limit:zit ions. Building Notic:et a.ppHcatio l"lS may b'e filed for only
   that work permitte d by  ' memoran dum of Novemb  -      er. 24.; 1972,. _(page 71-.
   of volvmes of memora ndums) entitled tt_Building Notice Applicat ions • .,
   7he _p,..oc:ed ure set for-th a..t>ove shall apply only to BuUc:!iS"\g Notice appli-
   eati on.s •                                                               ....  .                          -
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                       and number of permit and date sh.?.!i be notiec.

                       9. Fees. ..t\;::,plic.:11tions shall be l""eVieWt:c:! by fee ex.'.1-"niner-s to lnsu,..e
                       that est.im.at ed costs and requir-ed fees e,..e c:ol"'r-eet , befor-e issuance
                       of permits .

                      10. Fairs W"ld Car-niva ls. Building Notice applieati o:'\S filed for- fairs
                      and cnr-niva ls shall be examine d and appl"':0Ved befOl"'e issuance of
                     ,. permits .

                      11. Fir-e Safety A;:::p!ica tions.. A;:,;::,liea tions tlled to pl"'CVide ec.-npli.an:::e
                      with fir-e safety requ!r-em ents of L.o::al Law N.;i .. 5 of 11:17'3, stiatl be:
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                     This dir-cctiv e srn,11 be effectiv e imm~di ately.



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                     CC:          Exec.. Staff
                                  Industry                                                                          .-




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                           DEPARTMENT OF BUILDINGS
                           EXECUTIVE OFFICES
                           60 HUDSON STREET, NEW YORK, N.Y. 10013

                           JOEL A. MIELE, Sr., P.E., COMMISSIONE R                        BARRYG.COX
                                                                                       Assistant Commissioner
                                                                                        Borough Operations
                                                                                           (212) 312-8004


Issuance# 493




                                               OPERATIONS
                               POLICY A~ D PROCEDURE NOTICES # l 7 / 9 5




TO:

FROM:

DATE:

SUBJECT:       Adult Establishments


Reference:     Zoning Resolution Sections 11-113, 11-30, 12-10, 32-00, 42-00, 42-55, 51-00,
               52-00, and 72-00, et seq.

Purpose;       To establish a procedure to assure the provisions of the Zoning Resolution relating
               to adult establishments is accurately enforced.

Effective:     October 25, 1995

Specifics:

•               Filing Process:

App_licant:
       Directive 14 of 1975 and the Professional Certification of Application and Plans Process
       (PPN #2/95) may not be used for any filing related to adult establishments.

        In Section 16 (comments) of the PW!, the applicant shall indicate whether the filing
        he/she is making is to create, enlarge or extend an adult establishment or to erect a business




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         sign accessory to such an adult establishment.

         The application shall also include a separate area diagram detailing all existing uses and block
         and lot numbers within a 500 foot radius of the zoning lot of the adult establishment and
         include the location of any adult establishment identified on the enclosed list from the
         Department of City Planning. (Appendix A)


     Plan Examiner:

         An objection shall be raised if there exists another adult establishment within 500 feet of
         the proposed use or on the same zoning lot or if the establishment is in the wrong zoning
         district. Examiners should be guided by Appendix B.

     Permit Clerk:

         Prior to issuing a work permit for an adult establishment, the clerk shall refer the applicant
         to the Borough Commissioner (or his/her designee) who shall verify from a batch report
         of all applications filed on or after October 25, 1995 to create, enlarge or extend an adult
         establishment made available weekly by MIS, that the new establishment meets the criteria
         established under the Zoning Resolution.

•               Enforcement Process:

    Borough Complaint Clerk:

         For all Boroughs Except Manhattan:

         Any complaint received about an adult establishement shall be data entered onto BIS
         using complaint category code 75. The complaint will automatically be assigned a "B"
         priority. The jurisdiction must state "refer to Operations", category 98.

         The disposition of the complaint by the Night Squad shall be data entered upon being
         returned to the Borough office and a written response letter generated to the complainant.

         For Manhattan On{y:

         Any complaint received about an adult establishment shall be data entered onto BIS using
         complaint category code 75. The complaint will automatically be assigned a "B" priority The
         jurisdiction must state "refer to Office of Midtown Enforcement" category G7

         A written response letter will be generated and mailed to the complainant indicating the
         complaint was referred to the Office of Midtown Enforcement, 330 West 42nd Street, 15th
         Floor, New York, N.Y. 10036.




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                                           JNR-000094                                                       0468
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            On a weekly basis, the Borough office shall batch these complaint letters to that Office for
            investigation.

   Executive 01ieflnspector's Qffice:

            The Executive Chief shall secure a city-wide BIS printout of all category code 75 complaints
            on a weekly basis, print out the required work orders and route the Night Squad inspectors
            to these premises.

            Complaints about premises appearing on Appendix A shall nQ1 be inspected prior to
            October 25, 1996 unless the complaint alleges such premises has been enlarged or the use
            extended.

            The Executive Chiefs office shall request the respective borough office to provide the
            following information with respect to each premises to be inspected:

                                   * Certificate of occupancy
                                   * sign permits
                                   * any other documentation which may establish the existing legal use
                                     of the premises.
                                    * Zoning or Sanborn map showing premises location.

Ni'lht Emergem;y Squad:

            Any Department of Buildings notice of violation written for violating Zoning Resolution
            Section 11-113 must identify the specific type of adult establishment defined in Zoning
            Resolution Section 12-10 as either:

                                   * An Adult Bookstore, or
                                   * Adult Eating or Drinking Establishment, or
                                   * An Adult Theater or
                                   * Other commercial establishment or
                                   * Any combination of the above

            To the extent possible, the Night Squad log should include a brief layout of any premises
            inspected, the extent of the adult establishment and a description of the activities taking
            place in the premises. Backup documentation and the results of the inspection written on the
            work order shall be submitted to the Executive Chief who shall review the materials. If a
            determination is made that a violation should be issued, it shall be returned to the respective
            Borough Office for data entry.

            Inspectors should refer to Appendix B for further guidance.

BGC:yaj
adult.est


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                                              JNR-000095                                                      0469
                                         Case 1:02-cv-08333-LJL Document 147-1 Filed 05/09/22 Page 80 of 137
                                                       OCP SURVEY OF ADULT ENTERTAINMENT [STAULISHMENTS. FALL 1993
                                                                                                                                      12:30 Wednesaay.              Novemoer   l~.   199~

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                                 co    lAXULOCK        TAXLOT       NAME                             AlllJRESS                                     USE

                                 Ol         53            38        THUNDER XXX VIDEO                100         GHEENWICH ST           VIDEO STORE
                                 0l         53            39        PUSSYCAT LOUNGE                  96          GREENWICH ST           TOPLESS BAR
                                 Ol         65            10       XXX VIDEO                           11        MAIDEN LANE            VIDEO STORE
                                 01         90            21       ADULT VIDEO                       2l          ANN ST                 VIDEO STORE
                                 01         92            26        KINOLS                           l 18        NASSAU ST              TOPLESS 8AR
                                 01       133             15        THE DOLL HOUSE                   5\1         MURkAY ST              TOPLESS BAR
                                 01       l!:>O            6       OESlRE VlOtO                      6d          l<tAOE ST              VIDEO STORE
                                 01       175             16       HARMONY lH!cATRE                  27'J        c,1utsC11 ST           0H1t:R THEA T[R
                                 o,

       ~,
                                          \93             17       BABY DOLL LOUNGE                 34           WHJTE ST               TOPLl:.SS BAR
                                 02       2l I            28       LOVESTYLE V!OtO                   376         CANAL Sl               VIDEO STORE
                                 02       228             10       XXX VIOt.:0 SALE                  371         CANAL ST               VJDEO STOil!:
       X                         o:>      230                      XXX VIDEO SAL£                    323         CANAL ST               VIDEO STORE
       H
       Q                         Uti      4.J4             t.>     CHI..-PtNUAL.t:,                  I IU        1::.1   AV              IUf-'LI.:.!::,!::, t:IAH
       z
       fij
       0..                       02       528             52       XXX VIOEO                         220         VARICK ST              VIOEO STORE
       0..
       ,::i:                     03       558             30       ALL MALE JEWEL THEATRE            \00         3rl0 AV                MOVIE THEATEI<
                                 02       577              1       XXX V !OEO SALE                  520          ol·H AV                VIOEO STORE
                                 02       :,t;l:;         49       CHR1ST<.,·rttR ST l:IOOKS        soo          HuOSON ST              VIOl:.0 STORE
                                 02       589             28       CRAZY FANTASY XXX VlOl:.O        331          bTH AV                 VIDEO STORE
                                 02       !>~6              I      l>RJNCE   THE:AlcH               32!:I        Wt ~T 5 T              MOVlE THEATEH
                                 02       619             <lb      XXX VIOEO                         119         CHRISTOPHER ST         VlOEO STORE
                                 02       6JO             30       HARMONV VIOl:0                    139         CHRISTOPHER ST         VIDEO STORE
                                 02       636               I      l:IAOLANOS AOULl VILJtO          J!lll        WcST ST                V!Of.O STORE
                                 02       636              4       XXX VIOl'.O                      :J9l         WL:C, 1 :.T            VIDEO STORE
                                 O<l      699               I      PUHE GOLD                        Ltil         1 1TH    AV            TOPLl.:SS BAR
                                 O<l      761             31       ZIOEO XX VIOEO                   :.3!::l      l:JTH AV               eOOK STORE
                                                    PRLPANtO tlY NYC 01:.µAklMl:.Nf QF LJ l 'r !'LANN I I'll,. (!~/PLANNING SUPP0kl
0470




                                                                                 JNR-000096
                                  Case 1:02-cv-08333-LJL Document 147-1 Filed 05/09/22 Page 81 of 137
                                               DCP SURVEY OF ADULT ENTERTAJNMENT ESTl\01 ISt-iMENTS,        fALL    1993                                            2
                                                                                                                             12:30 Wcllnesllay, Nov.,mner 15,   199::i

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                                                                    (continued)


                           CD     TAXBLOCK       TAXLOT    NAME                                           AOORESS                   USE


                           04        763            42      300 DOOK STORE                      :JOO          W 40TH ST         VIOE.0 STORE

                           04        763            44      BACK OATE MAGAZINES                 304           W 40TH ST         DOOK STORE

                           04        77 l             6    AOULT VIDEO                          228           0TH AV            VJOEO STORE

                           04        77tl           34      CLUB 90                             208           W 29TH ST         TOPLESS DAR

                           0~        780            70      PENN VIDEO                          252           W    31ST ST      VIDEO STO~E

                           05        784              5    ADULT ENTERTAINMENT CENTER           480           8TH AV            PEEP SliOW

                           05        'f87             l    MEOAL.IOS                            552           8TH AV            TOPLESS DAR

                           04        793            37     XXX VIOEO                            €03           C,Tl1 AV          VIDEO STOflE

                           04        798            11     ALL-STAR HARMONY CLUB                I 61          W 22NO ST         TOPLESS BAR

                           04        799            40     ADULT VIOCO XXX                      '/2'..J       (.iTII AV         VlDf:0 STORC
                           04        799            42      Ull.L.YS TOPLESS                    729           GTl1 AV           TOPLESS DAR

                           Uil       1101           ::lo    ~Uff.NOIU XXX VJDUl I\. l'l'.l'I'   •,~I~)        (;T11 AV          Vlllf(l STOHE
                           04        803            35     ADULT VlDL:0                         795           GH1 AV            VIDEO STOHE
                           OS        809              a     PEEPWORLO                           155           W 33RD ST         VIDEO STORE

                           05        821            55     TEXAS GOLD                           20            W 20TH ST         TOPLESS BAR

                           0~        ll32           46     v0Gu1:. v1oeo                        2~6           5TH AV            VIOcO STORE

                           05        634            69     WORLO FAMOUS PARADISE.               42            W 33RO ST         lOPLES.S BAH

                           0!;       840            12      BANANA VIO[O                        55            W 38TH ST         vIOEO STORE

                           05        840            81     MANH.AfTAN VJ0£.0                    60            w 39Trt ST        BOOK STORE

                           05        tl4J           39      SALAX lN NEW YORK                   \6            E 16TH ST         TOPLESS BAR

                           05        850            25     STRlNGl'ELLOW                        JS            E 21ST ST         TOPLESS BAR

                           O!.>      860            30     A CARNIVAL!'                         39            E 30TH ST         EJOOK STORE
                           06        896              1    ALL MALE ADULT VIDEO                 125           3RD AV            VIDEO STORE
                           06        896              2    XJ<X VlOEO                           127           3RO AV            VlDEO $TORE


                                            PREPAHtO tlY NVC OEPA~fMENT 0~ CITY PLANNLNG, (IS/PLANNING SUPPORT
0471




                                                                      JNR-000097
                                                         Case 1:02-cv-08333-LJL Document 147-1 Filed 05/09/22 Page 82 of 137

                                                                              oCP SURVEY OF ADULT ENTeRTA[NMENT ESTADLISHM[NTS,                                         ~ALL \993                                                                                 3
                                                                                                                                                                                                 12:30 Wudnosday,                  Novombor           15,      1995

       - - ·· - - - - - - - - - - - - - · · ·· - -   · -· - - - - ·   · - - - - - - - - - - - - - - - · - - - - - - - - - - UOR O-MA NI IA TT AN - - ·· ·· · - · ·   · - - · • - - - - - - · - - - - - · ·· ·· - · - · - - - ·· ·· - · - · - - - - · - - - - - · · - -
                                                                                                                          (cant inuccJ)


                                          co         TAXBLOCK               lAXLOT            NAME                                                                    AOOHESS                                      USE


                                          06               917                  156            24-HOUR XXX V[OEO                                             557              3RD AV                     VIDl:.0 STORt;

                                          06               921                                                                                               301              E 14TH ST                  VIOEO STORE

                                          05               994                    47           LES GALS                                                      136              W 42ND ST                  PEEP      S1iOW

                                          Do               99t,                   26           FUN ClTV                                                      113              W 42ND ST                  VIDEO STORE

                                          0':l             995                    26           113     VlOEO CENTER                                          113              w 42ND ST                  VIOEO STORI:

                                          D!>            1000                     64           JOCKS                                                         7 l 1            7TH AV.                    OTHER THEATER

                                          o::,           1000                     64           SHOW FOLLIES CENTER                                           7 I 1            7Tl"i   AV                 BOOK"STORE

                                          05             1001                        3        METROPQLE GOGO (RUNWAY 69)                                     725              7TH AV                     TOPLESS BAR

                                          Qt,            I lJ 1 2                 t,3          XXX NE.Cl"AR                                                  ti3:t            !HH AV                     VHlt:0 STORt.

                                          Q:,            101'.l                   29           L & J OOOKS & VIDtOS                                          ~Oil             "/Tit   AV                 Pl:CI> St1DW

                                          0~             10 l 3                   35           FORSYTH llQOKS                                                596              7Tli AV                    BOOK STOl<E

                                          0~             10\3                     :n           VIDEO WONLD C~NTER                                            210              W 42ND ST                  PEEP SHOW

                                          o:;            I {J I :!                ~,3          flOXY MOV I l.                                                244              W 42ND ST                  MOVIE THL:.ATCR

                                          0   .,
                                              ,-         l O 1J                   ~.!:)        NEPTUNE V!D£0                                                 252              ,, 42NO ST                 VIDEO STORE

                                          O'.>           1013                     '.>'.>       250 BOOKSTORE                                                 2'.>0            W 42ND ST                  BOOK      STORE

                                          05             1013                     57           EROTICA                                                       256              W 42NO ST                  VIDEO STORE

                                          05             1013                     57           NIMBLE VIDEO                                                  254              W 42NO ST                  VIDEO STORE

                                          05             1014                                  TlME COMt VIDEO                                               263              W 42NO ST                  VIOEO STORE

                                          0:,            1014                                  TIMES SQ AOULl             ~HOPPING CENl~A                    25·,             W 42NO ST                  VlOEO STORE

                                          0!:>           1014                        5         SHQyj    CENTl:R                                              259              W 42NO ST                  PEEP SHOW

                                          05              1014                       6       . G & A 600KS                                                   251              w 42NO ST                  BOOK STORE

                                          05             1014                      10          HAREM                                                         249              W 42NO ST                  MOVIE THEATER

                                          Q!",           1014                     1\           VIOEO BLOW OUT                                                247              W 42ND ST                  VIOE0        STORE

                                          05             1014                      13          241 BOOK lNC                                                  241              W 42NO ST                  BOOK STORE

                                                                         PREPARED BY NYC DEPARTMENT OF CITY PLANNING, CIS/PLANNINC SUPPORT
0472




                                                                                                                 JNR-000098
                                                Case 1:02-cv-08333-LJL Document 147-1 Filed 05/09/22 Page 83 of 137
                                                              DCP SURVEY OF ADULT ENTERTAINMENT ESlAULISHMENlS, fALL 1993                                                                    .q
                                                                                                                                        1 2: JO weane!'>c.J.;y.   N.ovemt.lt!r   15 ~   l \J')S

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                                                                                           (c;onl >nu,,cJ)


                             co                 TAXDLOCK      TAKLOT     NAME                                         ADDRESS                     USE


                             05                   1014            58     SUPER VIDEO                         264          W 43!l0 ST      VIDEO STORE

                             05                   1014            59     PLAYPEN                             266          W 43RD ST       BOOK STORE

                             05                   \014            60     THE MALE    eox                     261:1        W 43RD ST       VlOEO STOHE
                             o:;                  1014            63     SLR MERCHANDISING                   672          8TH AV          BOOK STORE
                             05                   1014           64      SHOW PALACE                         670          BTH AV          600K STORE

                             05                   1017             2    VENUS CINEMA                         728          8TH AV          MOVIE THE.ATER

                             05                   1017            63     CAPRI THEATER                       738          OHi AV          MOVIE i'HEATER

                             05                   1017           63      EROS THEATER                        738          8TH AV          MOVIE THEATER
                             ()!::,               IOI 7          105    MARQUIS VIDEO                        2b!:>        W 45TH ST       VIDEO STORE

                             0~                   101!1           39     LAPS                                204          W 4"/TH ST      MOVII: THEAH:.H

                             OS                   1019             3     XXX VIDEO                           776          8TH ,--./       VIOEO STORE

                             O!:>                 IUZO            36    crncu:; UNl::MA                      lb(.Jb       tlHOAUWAY       MOVlt THEATt/l

                             05                   1020            38     PINKS                               204          W 49TH ST       OTHER THf:AT[H
                             U!::,                1021            49    ADULT VIDEO tXµNfSS                  216          W   50TH ST     V!OcO STOf<E

                             U!:i                 1024           131     FLASH OANCEHS                       . ·;12       Bf!OAOWAY       TOPLESS BAR

                             05                   1025           50      NEW DAVID                           236          W 54TH ST       OTHER THEATER

                             O!:i                 1026            15     FAMOUS LECZ DIAMOND                 '231         W 54TH ST       TOPLESS BAR

                             04                   1033            32     SHOW WOHLD                          669          81H AV          BOOK STO.RE

                             0'1                  1034            32     CLUO 44                             ti8:J        SHI AV          TOPLl:.SS BA.II

                             04                   1034            33     XXX-TASY VIOEO                      691          8TH AV          PEEP SHOW

                             04                   1034            34     ADONIS THEATER                      693          8TH AV          MOVIE THEATER

                             04                   1034            60     NEW KING MALE CINEMA                356          W 44TH ST       MOVIE THEATf:R
                             04                   1037            34     ADULT VIOEO                         763          8TH AV          VIOEO SfORE

                             04                   1038            JI     HOLLYWOOD TWIN                      7'11         8TH AV          MOVIE THEATER


                                                           PREPARED av NYC DEPARTMENT Of CITY PLANNING, C!S/PLANNINC SUPPORT
0473




                                                                                    JNR-000099
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                                           OCP SURVEY OF ADULT ENTERTAINMENT ESTA6LISHMENTS,    FALL 1993                                                 5
                                                                                                                12:30 WecJnesday.     November   15,   1995

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                                                                    (conlinucu)


                       co    TAXBLOCK    TAXLOT    NAME                                        ADDRESS                    USE


                       04      1038         J 1    HOLLYWOOD TWlN ADULT VIDEO         777         8TH AV              VlOEO STORE

                       04      1096          1     THE XXX VIDEO                      644         12TH AV             VlDEO STORE

                       07      114!:>       61     AMSTERDAM AVE VlOEO                287         AMSTERDAM AV        VIDEO STORE.

                       07      1228         22     ESHOMMES                           211         W 80TI-I ST         VlDEO STORE

                       06      1302        123     FLASH DANCERS DANGEROUS CURVES     12"/        E 47TH ST           TOPLESS BAfl

                       Ob      132b         36     LIONS DlcN                         2:w         t. !>3HD Sl         VIDEO SlOHE

                       06      1326         40     HOUSE OF DREAMS                    220         E b3kD ST           Vll>EcO STOkE

                       06      1326         40     LOVE TO LOVE                       220         E 53RD ST           VIDEO STORE::

                       U6      1347         52     THE DOLL HOUSI:                    307         t   b4TH ST         TOPLt::SS BAR

                       08      1435         16     SCORES                             333         E 60Tt·I ST         lOPLESS DAfl


                                                                      N = 107




                                        PREPARED OV NYC DEPARTMENT OF CITY PLANNING. (IS/PLANNING SUPPORT
0474




                                                                JNR-000100
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                                          OCP SURVE~ OF ADULT ENTERTAINMENT fSTAOLlSHMENTS,    FALL 1993                                                6
                                                                                                              12,30 Wednesday,    November   l:>,   199!:>

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                     co    TAXBLOCK     TAXLOT    NAM!:.                                  AOOHESS                       USE


                     05       2875         45     ALTAGRACIA RESTAURANT          1548      UNlVERSITY AVE         TOPLESS BAR

                     05      3164          31     ASCOT MOVIE THEATRE            2313      C.RANO CONCOURSE       MOVIE THEATER

                     08      3266         I I2    JUST US BAR                    156       W 231ST ST              TOPLESS BAR
                     l l     4317          :;o    C.LOBE THEATER                 640        PCLtlAM PARKWAY 5     MOVIC n1EATLH
                     12      4804         100     MICKEY & ANTHONY$ CA8ARET      1769       EC.UN HILL RC         TOPLESS SAR

                     12      4953         122     PRETTY WOMAN                   4 141     BOSTON RO               TOPLESS BAil
                     12      5275           6     FOOLS PARADISE                 40"/4     UOSlON RO              TOPLESS (jAR

                     10      5576         102     RUFFLES 8AR                    4026      E TREMONT AVE           TOPLESS BAR


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                                       PREPAREO BV NYC DEPARTMENT Of CITY PLANNING. CIS/PLANNJNC. SUPPORT
0475




                                                             JNR-000101
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                                                  OCP SURVEY OF ADULT ENTERTAINMENT ESTABLISHMENTS, FALL 1993                                                   7
                                                                                                                           12:30 Wednesday.   November 15.   199~

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                              co       TAXBLOCK       TAXLOT   NAME                                    ADDRESS                 USE

                              02          268          52       PANDORA tlOOKS                 tHl        COUHT ST         BOOK STOHi:.

                              07          654            7     V l 01:'0 XXX WAREt-tOUSE       761        31l0 AV          VIDEO STORE

                              07          61:ll          1      FOXY DEN                       !.120      3RLJ AV          TOPLESS 8Arl

                              07          695           38     VlOEO XXX                       \;1~2      3HD AV           V!Ot:.0 STORE

                              01          706           24      CORRAOOS CLUB                  :JH!5      1ST AV           TOPLESS BAR

                              O"J         701            9     W1L0 WILD WtSl                  3H0l       2ND AV           TOPLESS tlAR

                              07          722            a     MOMS tlAH                       4201       2ND AV           TOPLESS ilAR

                              06         1009           5      PLAYPEN ADULT VIDEO             4o3        3RD AV           VtDEO STORE

                              02         2012           70      VIOEO XXX                      851        ATLANTIC    AV   VIDEO STORE
                               12        5719           35     V10£0 XXX                       13GB       GOTH ST          VIDEO STORE
                              01         5"189          46      CORKSCREW CAH'                 6120       JIW    AV        TOPL!::SS BAR
                               15       6lf4            45      THE HUl:IY CLUB                l 10~      QUt::NTIN HD     TOPLESS BAR
                               1~        6774           45      XXX VIDEO                      1103       QUENTIN RD       VIDCO STORE

                               1~        7170           42     THE CABARET                     2~37       86 ST            TOPLESS BAR

                               Ill       755"/          40      CLUE! CHtETAti                 l4!;b      FLAlUUSK AV      TOPLtSS BAR

                                                                                  N   ~   15




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0476




                                                                      JNR-000102
                                     Case 1:02-cv-08333-LJL Document 147-1 Filed 05/09/22 Page 87 of 137

                                                         DCP SLIRVf.Y OF ADULT ~NTEHTAlNMENT ESTAllLJSt·IM[Nt "S,                       l'Al.L l~W3                                                   8
                                                                                                                                                       12,30 Wedncsu;;y,    November   1 ~) •   I':)(]!,

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                        co   TAXBLOCK             TAXLOT          NAME                                                                ADOR[SS                     use

                        02        2~                    9         RI Vl:.HHEAO INN                                  4b··08               VERNON BLVD         TOPLESS BAR

                        02      )60                    50         MERRV-GO-ROUND                                    45-15                QUEENS BLVD         TOPLESS BAR

                        02      190                      2        C.ALLAC.HERS                                      3!;1-33              QUEENS BLVD         TOPLESS BAR

                        01      239                    19         CANOY                                             29-32                NORTHcflN SLVO      TOPLESS liAR

                        02      276                    41         XXX VIDEO                                         31-17                QUEENS BLVO         VIOfO STORE

                        02      304                   113         SCANDALS                                          32-37                GRf.EttPOINT AV     TOPLESS BAR

                        01      589                    44         MERMAID                                           31-08                31ST ST             TOPLESS BAR

                        01      668                     5         CIT VS CAPE                                      35-03                 38TH ST             TOPLESS BAR

                        01      823                   165         XXX VlOEO                                         :,6-1!.l             O{lMARS BLVO        VIDEO STORt.

                        01      ;1 J J                   J        PENNY WHISTLE                                     31-07        '-      23RD AV             "TOPLESS BAR

                        OJ     1284                      7        EARLE THEATt:1-1                                  73-07                37TH RO             MOVIE THEATER

                        01     1:Ji\J                    1        NAKt:l) Cll V                                     oli-01               QUEENS BLVU         TOPLESS BAH

                        03     1 Jb'l                  lb         FAlH Tt1l:.ATRE                                   :;JO- I ti           ASTOHIA llLVO       MOVII;. THEATEH

                        03     13bh                    21         COZY CAl::IIN                                    ~2-03                 ASlORIA BLVD        TOPLESS 8AR

                        03     13bu                    39         LOVESHACK ADULT VIDEO                            92-20                 ASTOHlA BLVD        VIDEO STORE

                        OJ     \ 30 :l                 4~         WILE.VS                                           !)t,-07              31!.T AVE           TOPLE.SS 6AR

                        03     1.Qb7                   39         POLI!. THEATER                                   93-09                 37TH AVE            MOVIE THEATER

                        03     1480                    42         FIDOLE&. BOW                                     92-07                 HOOSEVfLT AV        TOPLESS BAK

                        03     1002                     6         OEE TWO VIOEO                                     U6-10                ROOSEVELT AV        VIOEO STORE

                        04     1$06                      1        PIOES PLACE I I                                  81-26                 BAXTER AV           TOPLESS BAR

                        03     1706                      l        JOHNNY JAYS CATCH ME If YOU CA                  N l 12-08              ASTORIA BLVD        TOPLESS f!AR

                        03     1770                    81         TOPLESS BAR                                       39-02                104TH ST            TOPLE.SS OAR

                        04     1862                      l        CANHE                                             92-02                CORONA AV           TOPLESS BAR

                        Ob     20/!,                   39         GOLDFINGE.RS                                      'J2-71               QUEENS BLVD         lOPLESS BAR

                        02     2202                    29         HONEYS                                            49-14                QUEENS BLVD         TOPLE.SS 8AH

                                                    PREPARED BY NYC DEPARTMENT OF CJTV PLANNING, CIS/PLANNlNG SUPPORT
0477




                                                                                        JNR-000103
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                                               OCP SURVEY Of ADULT ENTERTAINMcNT ESTAOL!SHMENIS,               FALL 1993                                            9
                                                                                                                           12:::10 weonesday,   Novemo~r   IS,   199~

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                                                                     (continued}


                         CD    TAXl:!LOCK      TAXLOT     NAME                            ADDRESS                             USE


                         02       2432            21      NICKELS                         69-20      QUEENS BLVD              TOPLESS BAR
                         05       2736            55      TREASURE Ct1EST                 60-07      METROPOLITAN AVE         TOPLESS 6A.R
                         04       2855             17     ADULT LOVE BOUTIQUE             69-18      QUEtNS BLVO              PEEP SHOW
                         06       3080            23      VlRGINIAS                       95-36      OUCENS BLVO              TOPLESS 6AR
                         06       3066            22      XXX VIDEO STORt                 !)8-32     QUCENS EILVO             VIDEO STORE
                         09       3336             18     AUSTIN T/1cATER                 81-01      L(f'FERTS 13LV0          MOVIE Tl1EATEH
                         07       4294                    C.ALLACHERS I I                 26-J5      l23flD ST                TOPLESS BAR

                         07       4958            48      SPORTS BAR                      13~-41    ENORTHl::RN BLVO          TOPLESS BAR
                         07       4977             10     CORSE TOR l UM INC              3G-35      MAIN ST                  OTHER
                                                                                                         '
                         OJ       5033             14     C.OODTIME VJOEO                 \50-36     NOIHHERN llLVD           VJOEO STORF.
                         07       5040                    CANOELWOOO lNN                  41-57      COLLEGc POlkT BLVO       TOPLESS BAR
                         Otl      6930                    MAYFAIR Tl1EATRE                6!l-2~     F~ESH MEAOOW LANE       MOVIE THEATER
                         09       8988           103      PORTO CALL                      93-10      WOODHAVEN BLVD           TOPLESS SAR

                         09       9056             16     ANOYS BAR                       £1$-01     ROCKAWAY 8LVD            TOPLESS EIAR
                         12       9690             7      CORDONS TOPLESS BAR             146-16     l·H LLS I OE AV         TOPLt:.SS OAR

                         12       9798            15      KRY STALLS                       89-2$     ME:.HRlCK BLVO          TOPLESS BAR
                         12       9994            51      OREAMS TOPLESS BAR              90-67      SUTPHIN BLVO             TOPLESS BAR
                         13      10759           147      HAPPY TIPS LOUNGE               215-50     JAMAICA AV              TOPLESS OAR

                         13      13614            \2      XXX VIDEO                       245-02     S CONOUlT A.VE          VIDEO STORE


                                                                               N   = 44




                                            PREPARED BY t-!YC OEPARTME:.NT OF CITY PLANNING. Cl $/PLANNING Si...o'PORT
0478




                                                                    JNR-000104                                                                                           ~.,
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          Case 1:02-cv-08333-LJL Document 147-1 Filed 05/09/22 Page 89 of 137
                     DCP SURVEY OF ADULT ENTcRTAINMcNT ESTABLISHMcNTS, FALL 1993                                                                      10
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          co     TAX(jLOCK   TAXLOT    NAME                        AOOIH:SS                     U!>E.


          02       2162        190     LIPSTICKS         3575         VICTORY 8LVD      TOPLESS BAR

          02       3110        127      SCARLEHS         283          $AND LANE         TOPLESS 5AR

          03       7206                HIPPS             2945         ARTHUR KILL RD    TOPLESS BAR


                                                   N   = 3




                  PREPARED BY NYC DEPARTMENT OF CITY PLANNING,         CIS/PLANNING !>UPPORT
0479




                                         JNR-000105                                                                                                        ·•t,:,
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                               ADULT ESTABLISHMENT GUIDELINES

                                 DEFINITION OF AN AOUL T ESTABLISHMENT
   ZR §12-10 defines an adult establishment as any commercial establishment which features the
depiction, description, or display of "specified anatomical areas" or "specified sexual activities" to the
degree specified in the text. Adult establishments include:
      adult bookstores,
      adult eating or drinking establishments,
      adult theaters,
      other adult commercial establishments,
      or any combination of the above.


   When determining whether a substantial portion of an establishment is devoted to an adult
establishment(s), the following factors are to be considered:
   1) the amount of floor area and cellar space accessible to the customer and allocated to such

      establishment, and
   2) the percentage of total floor area and cellar space accessible to the customer and allocated to
      such establishment (("adult" FA accessible to the customer+ "adult" cellar space accessible to the customer)/ (total FA
      accessible to the customer)).




   When determining whether a substantial portion of an establishment's stock in trade is devoted
to specified materials, the following factors are to be considered:
   1) the percentage of total stock accessible to the customer that such materials represent ((''adult" stock
      accessible to the cuetome1S) I (total stock accessible to the customer)), and

   2) the amount of floor area and cellar space accessible to the customer containing such materials,
      and
   3) the percentage of total floor area and cellar space accessible to the customer containing such
      materials (("adult" FA accessible to the customer+ "adult" cellar space accessible to the customer)/ (total FA accessible to the
      customer)),




   See definition under ZR §12-10 for further guidance.




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                                                    JNR-000106                                                                           0480
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                       ADULT ESTABLISHMENT GUIDELINES

                                    PROHIBITED LOCATIONS
Adult establishments are not permitted in the following districts or locations:
•   On the same zoning lot as another adult establishment.
•   Residence districts.
•   C1, C2, C3, C4, CS, C6-1, C6-2, or C6-3 zoning districts.
•   C6-4, C6-5, C6-6, C6-7, C6-8, C6-9, C7, or     ca zoning districts within 500' of:
       a church established before April 10, 1995,
       a school established before April 10, 1995,
       a residence district,
       a C1, C2, C3, C4, CS-1, C6-1, C6-2, or C6-3 zoning district,
       a manufacturing district, other than M1-6M district, in which new residence, new joint living-
           work quarters for artists, or new loft dwellings are allowed, under the provisions of the
           zoning resolution, as-of-right or by special permit or authorization, or
       another adult establishment.
•   Manufacturing districts in which residences, joint living-work quarters for artists, or loft dwellings
    are, under the provisions of the Zoning Resolution, allowed as-of-right or by special permit or
    authorization.
•   In any other manufacturing district within 500' of:
       a church established before April 1 0, 1995,
       a school established before April 10, 1995,
       a residence district,
       a C1, C2, C3, C4, cs~,, C6-1, C6-2, or C6-3 zoning district,
       a manufacturing district, other than M143M district, in which new residence, new joint living-
           work quarters for artists, or new loft dwellings are allowed, under the provisions of the
           zoning resolution, as-of-right or by special permit or authorization, or
       another adult establishment.


                                        SIZE LIMITATIONS
•   Under no circumstances may an adult establishment exceed in total 10,000 square feet offloor
    area or cellar space not used for enclosed storage or mechanical equipment.




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                                        JNR-000107                                                           0481
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                           ADULT ESTABLISHMENT GUIDELINES

                                           SIGN LIMITATIONS
   •   Accessory business signs for adult establishments are permitted but are subject to the sign
       regulations otherwise applicable in C1 zoning districts except that the provisions of ZR §32-64
       shall not apply.
   •   The maximum surface area of all accessory business signs for adult establishments shall not
       exceed. in the aggregate, three times the street frontage of the zoning lot, but in no event more
       than 150 square feet per establishment. of which no more than 50 square feet may be illuminated,
       non-flashing signs.
   •   In manufacturing districts, accessory business signs for adult establishments are not permitted
       on the roof of any building and are not pennltted to extend above curb level at a height of greater
       than 25 feet.


                       AMORTIZATION OF ADULT ESTABLISHMENTS (§52-77)
General rule:    In all districts, non-conforming adult establishments, including any business signs
                       accessory thereto, shall terminate within one year from October 25, 1995, or from
                       such later date that the adult establishment or sign becomes non-conforming.
Exceptions:      Any adult establishment which existed on October 25, 1995, and which conform to all
                       provisions of the Zoning Resolution regarding adult establishments other than
                       paragraphs (c), (d), and (e) of ZR §32-01 or paragraphs (c). (d), and (e) of ZR §42-
                       01 shall not be requ~ed to amortize pursuant to ZR §52-77.
                 The Board of Standards and Appeals may, pursuant to ZR §72-40, extend the time
                       period for amortization of an adult establishment or business sign accessory thereto
                       under specified circumstances.


                                   NON-CONFORMING USES (§52•30):
   •   A legal non-conforming use may not be changed to a use including an adult establishment, except
       as provided in Section 32-01 or Section 42-01.




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                                           JNR-000108                                                      0482
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                              DEPARTMENT OF BUILDINGS
                              EXECUTIVE OFFICES
                              60 HLiDSON STREET. NEW YORK, N.Y. 10013-3394

                              GASTON SlL VA. R.A., Commissioner

                              (212) 312-81()()                                       Richard C. Visconti. RA
                                                                                    Fir$! Deputy Commissioner
                                                                                    Technical Affairs/Operations
                                                                                           (212) 312-8120
                                                                                       TTY (2l2)312-8188

Issuance# 506

                                    OPERATIONS
                        POLICY AND PROCEDURE NOTICES# 6/96


TO:            Distribution

FROM:          Richard C. Viscont~ R.A.

DA TE:         October 25, 1996

SUBJECT:       Adult EstabHshments -- Applications and Complaint Procedure


Reference:     Zoning Resolution Sections 11-113, 11-30, 12-lO, 32-00, 42-00, 42-55, 51-00,
               52-00, and 72-00, et seq.

Purpose:       To clarify procedures for enforcement of the provisions of the Zoning Resolution
               relating to adult establishments.

Effective:     October 26, 1996

Specifics:     This PPN supersedes PPN # 17/95.



•        FILING PROCESS

               •        AppHcant

Directive 14 of I975 and the Professional Certification of Application and Plans Process (PP~ #2/95)
may not be used for any filing related to adult establishments.

In Section t6 (comments) of the PWI, the applicant shall indicate whether the filing he/she is making
is to create, enlarge or extend an adult establishment or to erect a business sign accessory to such an
establishment.




                                      JNR-000109                                                                   0484
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The application shall also include a separate area diagram detailing all existing uses and block and lot
numbers within 500 feet of the center line of the door(s) of the principal entrance of the adult
establishment or of the center line of the ground floor door(s) giving the most direct street access to
the adult establishment.

               •       Plan Examiner

An objection shall be raised if there exists another adult establishment within 500 feet of the proposed
use or on the same zoning lot or if the establishment is in the wrong zoning district. Examiners
should be guided by the Provision of the Zoning Resolution Relating to Adult Establishments, a copy
of which is attached hereto as Appendix A.

               •       Permit Clerk

Prior to issuing a work permit for an adult establishment, the clerk shall refer the applicant to the
Borough Commissioner (or his/her designee) who shall verify from a batch report of all applications
filed on or after October 25, 1995 to create, enlarge or extend an adult establishment made available
weekly by MIS, that the new establishment meets the criteria established under the Zoning
Resolution

•       ENFORCEMENT PROCESS

               Borough Complaint Clerk:

               •        For All Boroughs E ,;cept \lanhattan

Any complaint received about an adult estari:,::::·t':.t shall be data entered into BIS using complaint
category code 75. The complaint will autorr.Jt:d,:,, r_,e assigned a "B" priority. The jurisdiction must
state "refer to Operations", category 98

The disposition of the complaint by the ~igr.1 '-c.;uJ ;hall be data entered upon being returned to the
Borough office and a written response lettl!r ~~,.I!~ Jted to the complainant.

                •       For Manhattan Onh

Any complaint received about an adult establishment shall be data entered onto BIS using complaint
category code 75. The complaint will au1omat1cally be assigned a "B" priority. The jurisdiction must
state "refer to Office of:\tlidtown Enforcement" category G7.

A written response letter will be generated and mailed to the complainant indicating the complaint
was referred to the Office of Midtown Enforcement, 330 West 42nd Street, 15th Floor, New York
New York 10036

On a weekly basis, the Borough Office shall batch these complaint letters to that Office for
investigation.




                                     JNR-000110                                                            0485
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               •       Executive Chief Inspector's Office

The Executive Chief shall secure a city-wide BIS printout of all category code 75 complaints on a
weekly basis, print out the required work orders and route the Night Squad inspectors.

The Executive Chiefs Office shall request th~ respective borough office to provide the following
information with respect to each premises to be inspected.

                       *       Certificate of Occupancy,
                       *       Sign permits,
                       *       Any other documentation which may establish the existing legal use,
                       *       Zoning or Sanborn map showing premises location.

               •       Ni2ht Emergency Squad

Any Department of Buildings notice of violation written for violating Zoning Resolution Section 11-
113 must identify specific type of adult establishment defined in the Zoning Resolution Section 12-10
as the following:

                       *       An Adult Bookstore, or
                       *       An Adult Eating or Drinking Establishment, or
                       *       An Adult Theater, or
                       *       Other commercial establishment, or
                       *       Any combination of the above.

To the extent possible, the Night Squad log should include, but not be limited to, the following:

                       *       a brief layout of any premises inspected, including the size of the
                               space, location and number of entrances, and description and
                               location of signs,
                       *       the extent of the adult establishment,
                       *       a description of the activities taking place inside the premises,
                       *       the name( s) of the person( s) in charge (if possible), and
                       *       proximity to any places of worship/churches, schools or other adult
                               establishments,
                        *      the size of the area devoted to the adult establishment and/or adult
                               materials in relation to the total floor area and cellar space
                               accessible to the customer, and
                        *      the quantity of stock/inventory devoted to adult material m
                                relation to the entire stock/inventory


Back-up documentation and the results of the inspection written on the work order shall be submitted
to the Executive Chief who shall review the materials. If a determination is made that a violation



                                    JNR-000111                                                          0486
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should be issued, it shall be returned to the respective Borough Office for data entry.

Inspectors should refer to Appendix A for further guidance.




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                                    JNR-000112                                            0487
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                   PROVISIONS OF THE ZONING RESOLUTION RELATING
                             TO ADULT ESTABLISHMENTS

                          DEFINITION OF AN ADULT ESTABLISHMENT

        ZR §12-10 defines an adult establishment as any commercial establishment which features the
depiction, description or display of "specified anatomical areas" or "specified sexual activities" to the degree
specified in the text. Adult establishments include:
                adult bookstores,
        •       adult eating or drinking establishments
                adult theaters,
                other adult commercial establishments,
                or any combination of the above.
        When determining whether a substantial portion of an establishment is devoted to an adult
establishment(s), the following factors are to be considered:
        (1)     the amount of floor area and cellar space accessible to the customer and allocated to such
                an establishment, and
        (2)     the percentage of total floor area and cellar space accessible to the customer and allocated
                to such establishment -- (["adult" FA accessible to the customer + "adult" cellar space
                accessible to the customer] I (total FA accessible to the customerJ).


        When determining whether a substantial portion of an establishment 's stock in trade is devoted
to specified materials, the following factors are to be considered:
        (I)     the percentage of total stock accessible to the customer that such materials represent --
                (["adult" stock accessible to the customers]/ [total stock accessible to the customer]), and
       · (2)    the amount of floor area and cellar space accessible to the customer containing such
                materials, and
        (3)     the percentage of total floor area and cellar space accessible to the customer containing such
                materials -- (("adult" FA accessible to the customer+ "adult" cellar space accessible to the
                custoO}er] I [total FA accessible to the customer]).




        See definition under ZR § 12-10 for further guidance.
                                                                                  APPENDIX A




                                          JNR-000113                                                               0488
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                  PROVISIONS OF THE ZONL"lG RESOLUTION RELATING
                                    TO ADULT ESTABLISHMENTS


                                     PROHIBITED LOCATIONS
Adult establishments are not permitted in the following districts or locations:
      •       on the same zoning lot as another adult establishment.
      •       Residence districts
      •       Cl, C2, CJ, C4, C5, C6-l, C6-2, or C6-3 zoning districts.
      •       C6-4, C6-5, C6-6, C6-7, C6-8, C6-9, C7, or C8 zoning districts within 500' of:
                   a church
              •    a school
              •    a residence districts
              •    a CI, C2, C3, C4, CS-I, C6-l, C6-2, or C6-3 zoning district,
              •    a manufacturing district, other than Ml-6M district, in which new residence, new joint
                   living-work quarters for artists, or new loft dwellings are allowed, under the provisions
                   of the zoning resolution, as-of-right or by special permit or authorization, or
              •    another adult establishment.


EXCEPTION          An adult establishment will not become non-conforming if a church or school locates
                   within 500 feet of an existing adult establishment after April l 0, 1995 (ZR 32-0 l and
                   42-10).


      •       Manufacturing districts in which residences, joint living-work quarters for artists, or loft
              dwellings are, under the provisions of the Zoning Resolution, allowed as-of-right or by
              special permit or authorization.
      •       In all other manufacturing districts within 500' of:
                   .a church

                   a school
              •    a residence district,
                   a Cl, C2, C3, C4, C5-l, C6-l, C6-2, or C6-3 zoning district,
                   a manufacturing district, other than Ml-6M district, in which new residence, new joint
                   living-work quarters for artists, or new loft dwellings are allowed, under the provisions
                   of the Zoning Resolution, as-of-right by special permit or authorization, or
                                       JNR-000114                                                              0489
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                   PROVISIONS OF THE ZONING RESOLUTION RELATING
                                      TO ADULT ESTABLISHMENTS


                     another adult establishment


EXCEPTION:           An adult establishment will not become non-confonning if a church or school locates
                     within 500 feet of an existing.adult establishment after April l 0, I 995 (ZR 32-0 l and
                     42-10)


                                           SIZE Ll.lVIITATIONS
       •        Under no circumstances may an adult establishment exceed in total l 0,000 square feet of
                floor area or cellar space not used for enclosed storage or mechanical equipment.


                                           SIGN LI:\IITATIONS
       •        Accessory business signs for adult establishments are permitted but are subject to the sign
                regulations otherwise applicable in C \ zoning districts except that the provisions of ZR §32-
                64 shall not apply.
       •        The maximum surface area of a-:(c5sory business signs for adult establishments shall not
                exceed, in the aggregate, three 1: :•:,: 5 the street frontage of the zoning lot, but in no event
                more than 150 square feet per t~t.1r-: ,!'.:nent, of which no more than 50 square feet may be
                illuminated, non-flashing signs
       •        In manufacturing districts. a'-·~-:", r. business signs for adult establishments are not
                permitted on the roof of any bui..;:~~ .rnd are not permitted to extend above curb level at
                height of greater than 25 feet


           TERl'\<IINATION OF EXISTl'.\G .--\Dl'LT ESTABLISHMENTS (ZR §52-77)
General rule:        In all districts, non-conforming adult establishments, including any business signs
                         accessory thereto. shall temunate within one year from October 25, 1995, or from
                         such later date that the adult establishment or sign becomes non-conforming.
Except lons:         Any adult establishment which existed on October 25, 1995, and which conforms to

                         provisions of the Zoning Resolution relating to adult establishments other than the
                         provisions of all or any comblnation of paragraphs (c), (d), and (e) of ZR §32-01
                         or paragraphs (c), (d), and (e) of ZR §42-01 shall not be subject to ZR §52-77
                         (Amortization provision).

                                          JNR-000115                                                                0490
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            The Board of Standards and Appeals may, pursuant to ZR §72-40 and ZR §52-734,
                extend the time period for amortization of an adult establishment or business sign
               accessory thereto under specified circumstances.


                     NON-CONFORMING USES (ZR §52-38)


  •    A legal non-conforming use may not be changed to an adult establishment, except as
       provided in Section 32-0 I or Section 42-0 l.




                               JNR-000116                                                            0491
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                              DEPARTMENT OF BUILDINGS
                              EXECUTIVE OFFICES
                              60 HUDSON STREET. NEW YORK, N.Y. 10013-3394

                              GASTON SILVA, RA, Commissioner

                              (212) 312-8100                                         Richard C. Visconti, RA
                                                                                    First Deputy Commissioner
                                                                                   Technical Affairs/Operations
                                                                                         (212) 312-8120
                                                                                      TTY (212) 312-8188



Issuance # 507


                                    OPERATIONS
                        POLICY AND PROCEDURE NOTICES# 7/96


TO:            Distribution                    t/JJ }
FROM:          Richard C. Visconti, R.A.       'VV
DATE:          October 25, 1996

SUBJECT:       Adult Establishments -- Places of Worship/Churches


Reference:     Zoning Resolution Sections 11-113, 11-30, 12·10, 32-00, 42-00, 42-55, 51-00,
               52-00, and 72.00, et seq.

Purpose:       To establish a uniforn:i definition of a "place ofworship"/"church" in order to
               assure the provisions of the Zoning Resolution relating to adult establishments is
               accurately enforced.

Effective:     October 26, 1996

Specifics:

        The Department of Buildings does not maintain a survey or catalogue of all churches or other
places of worship in the City of New York for the purpose of enforcing the adult establishment
prpvision in the Zoning Resolution. With respect to enforcing zoning regulations for adult
establishments, this PPN will refer to a "church 11 as any "place of worship",

       Evidence supporting the allegation that a particular premises is occupied by a place of worship




                                         JNR-000117                                                               0493
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should be issued, it shall be returned to the respective Borough Office for data entry.

Inspectors should refer to Appendix A for futther guidance.




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                                       JNR-000118                                         0494
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                              DEPARTMENT OF BUILDINGS
                              EXECUTIVE Of-FICES
                              60 HUDSON STREET. NEW YORK. N.Y. !0013-3394

                              GASTON SILVA, R.A., Commissioner

                              (212) 312-8100                                         Richard C. Visconti, R.A.
                                                                                    First Deputy Commissioner
                                                                                    To:.chnical Affairs/Operations
                                                                                           (212)312-8120
                                                                                       TTY (2 !2) 312-8188

Issuance # 508


                                    OPERATIONS
                        POLICY AND PROCEDURE NOTICES# 8/96




TO:            Distribution

FROM:          Richard C. Visconti, R.A.

DATE:          October 25, 1996

SUBJECT:       Adult Establishments -- Measuring the 500 feet distance requirement


Reference:     Zoning Resolution Sections 11-113, 11-30, 12-10, 32-00, 32-01, 42-00, 42-01,
               42-55, 51-00, 52-00, and 72-00, et seq.

Purpose:       To clarify the manner in which the Department determines the distances between
               adult establishments and schools or places of worship/churches.

Effective:     October 26, 1996

Specifics:


         Pursuant to the Zoning Resolution, adult establishments are not permitted in residence
districts and certain commercial districts. In those districts in which adult establishments are
permitted, the Zoning Resolution requires that such establishments be located at least 500 feet from
a place of worship/church, a school (both also referred to as ''sensitive receptors"), or another adult
establishment. A "place of worship"/"church" is defined in PPN # 7/9~. A "school" is defined in
Section 12-10 of the Zoning Resolution. In order to ascertain whether an adult establishment is
within 500 feet of such sensitive receptor or another adult establishment, the Department of Buildings
shall determine the 500-foot distance radially as set forth below.




                                        JNR-000119                                                                   0496
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Measuring From the Adult Establishment

         When measuring from the adult establishment, the soo.foot distance shall be measured from
the center line of the door(s) of the principal entrance of the adult establishment or from the center
line of the ground floor door(s) giving the most direct street access to the adult establishment.
                                          0 11
Measuring Between Two Adult Establishments A and "B"

         When measuring between two adult establishments, the 500-foot distance shall be measured
from the center line of the door( s) of the principal entrance of adult establishment "A" or from the
center line of the ground·floor door(s) giving the most direct street access to adult establishment "A"
to the center line of the door(s) of the principal entrance of adult establishment "B" or to the center
line of the ground floor door(s) giving the most direct street access to adult establishment "B".

Measuring From the Adult Establishment to the Sensitive Receptor

         With respect to measuring from the adult establishment to the sensitive receptor, the 500-foot
distance shall be measured from the center line of the door(s) of the principal entrance of the adult
establishment or from the center line of the ground floor door( s) giving the most direct street access
to the adult establishment to the outside face of the closest demising wall of the school or place of
worship. If there are outdoor spaces directly adjacent to and customarily used by such school or
place of worship, such as a school playground, the 500-foot distance shall be measured from the
previously described door(s) of the adult establishment to the nearest boundary point of a school
playground rather than the boundary of the school building.

        However, if a school or place of worship shares a zoning lot with an unrelated use such as a
commercial office building, the office building portion of the zoning lot shall not be considered part
of the sensitive receptor site.




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                   PROVISIONS OF THE ZONING RESOLUTION RELATING
                                     TO ADULT ESTABLISHMENTS


                                      PROHIBITED LOCATIONS
 Adult establishments are not permitted in the following districts or locations:
       •       on the same zoning lot as another adult establishment.
       •       Residence districts
       •       Cl, C2, CJ._ G4, C5, C6-l, C6-2, orC6-3 zoning districts.
       •       C6-4, C6-5, C6-6, C6-7, C6-8, C6-9, C7, or C8 zoning districts within 500' of:
               •    a church
               •    a school
               •    a residence districts
                    a CI, C2, CJ, C4, C5-l, C6-l, C6-2, or C6-3 zoning district,
                    a manufacturing district, other than Ml-6M district, in which new residence, new joint
                    living-work quarters for artists, or new loft dwellings are allowed, under the provisions
                    of the zoning resolution, as-of-right or by special permit or authorization, or
                    another adult establishment.


EXCEPTION:          An adult establishment will not become non-conforming if a church or school locates
                    within 500 feet of an existing adult establishment after April 10, 1995 (ZR 32-01 and
                    42-l 0).


      •        Manufacturing districts in which residences, joint living-work quarters for artists, or loft
               dwellings are, under the provisions of the Zoning Resolution, allowed as-of-right or by
               special permit or authorization.
       •       In all other manufacturing districts within 500' of:
               •    a church
               •    a school
               •    a residence district,
               •    a Cl, C2, CJ, C4, C5- I, C6-l, C6-2, or C6w3 zoning district,
               •    a manufacturing district, other than Ml-6M district, in which new residence, new joint
                    living-work quarters for artists, or new loft dwellings are allowed, under the provisions
                    of the Zoning Resolution, as-of-right by special permit or authorization, or

                                            JNR-000121                                                          0498
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                   PROVISIONS OF THE ZONING RESOLUTION RELATING
                                      TO ADULT ESTABLISHMENTS


                     another adult establishment


EXCEPTION•           An adult establishment will not become non-conforming if a church or school locates

                     within 500 feet of an existing adult establishment after April I 0, 1995 (ZR 32-01 and
                     42-10).


                                          SIZE LI.MITATIONS
        •       Under no circumstances may an adult establishment exceed in total 10,000 square feet of
                floor area or cellar space not used for enclosed storage or mechanical equipment.


                                          SIGN LIMITATIONS
        •       Accessory business signs for adult establishments are permitted but are subject to the sign
                regulations otherwise applicable in CI zoning districts except that the provisions of ZR §32-
                64 shall not apply.
        •       The maximum surface area of accessory business signs for adult establishments shall not
                exceed, in the aggregate, three times the street frontage of the zoning lot, but in no event
                more than 150 square feet per establishment, of which no more than 50 square feet may be
                illuminated, non-flashing signs.

       •        In manufacturing districts, accessory business signs for adult establishments are not
                permitted on the roof of any building and are not permitted to extend above curb level at
                height of greater than 25 feet.


            TERMINATION OF EXISTING ADULT ESTABLISHMENTS (ZR §52-77)
General rule:        In all districts, non-conforming adult establishments, including any business signs
                         accessory thereto, shall tenninate within one year from October 25, 1995, or from
                         such later date that the adult establishment or sign becomes non-conforming.
Exceptions:          Any adult establishment which existed on October 25, I 995, and which conforms to
                         provisions of the Zoning Resolution relating to adult establishments other than the
                         provisions of all or any combination of paragraphs ( c ), ( d), and (e) of ZR §32-01
                         or paragraphs (c), (d), and (e) of ZR §42-01 shall not be subject to ZR §52-77
                         (Amortization provision).

                                            JNR-000122                                                          0499
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          The Board of Standards and Appeals may, pursuant to ZR §72-40 and ZR §52-734,
              extend the time period for amortization of an adult establishment or business sign
             accessory thereto under specified circumstances.


                    NON-CONFORMING USES (ZR §52-38)


•    A legal non-conforming use may_ not be changed to an adult establishment, except as
     provided in Section 32-01 or Section 42-01.

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                               JNR-000123                                                          0500
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                                      ions Policy                                                                             nd Procedu re Notices


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 IE!fective:                                               .   lllmmediately _ .. . . . ............. ······ ....... . . _... .
  Purpose:                                                     To provide guidance as to the meaning of the phrase "substantial portion" as
                                                               used in the definition of "adult establishment" in Section 12-10 of the Zoning
                                                               Resolution.


  Reference:                                                   Zoning Resolution Sections 12-10, 32-01, 32-69, 42-01, 42-55, 52-734, 52-77,
                                                               72-40
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  Specifics:                                                       Section 12-10 of the Zoning Resolution ("ZR") defines an adult establishment
                                                                   as an establishment, a "substantial portion" of which is occupied by an adult
                                                                   use. The phrase "substantial portion" is again used to define an adult book
                                                                   store as a book store with a substantial portion of its stock-in-trade in materials
                                                                   as defined in ZR §12-10 (a)(1) and (a)(2) ("adult materials"). In order that the

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                              provisions relating to adult establishments be properly enforced, this OPPN
                              sets forth guidelines to clarify the meaning of the phrase "substantial portion."

                                    Adult Book Store

                                    An establishment shall be deemed a book store if its principal use is selling
                                    books, magazines, periodicals or other printed matter or photographs, films,
                                    motion pictures, video cassettes, slides or other visual representations,
                                    regardless of floor area. If at least 40 percent of the book store's total stock
                                    accessible or available ("accessible") for sale or rent to customers is
                                    comprised of adult materials, then the book store has a "substantial portion" of
                                    its stock in adult materials, and is therefore an "adult book store."

                                    An establishment also includes an adult book store if 40 percent of the
                                    establishment's floor area and cellar space accessible to customers contains
                                    stock in adult materials.

                                    If 10,000 or more square feet of an establishment is occupied by adult
                                    materials, the establishment is deemed to be an "adult book store" regardless
                                    of the overall size of the establishment.

                                    General interest stores, including general interest book and video stores, with
                                    a section of adult materials that is modest in scale as compared to the overall
                                    size or stock of the store, are not intended to be covered by the adult
                                    establishment definition in ZR §12-10.

                                    Adult eating or drinking.establishment, theater or other commercial
                                    establishment

                                    The determination whether a "substantial portion" of an eating or drinking
                                    establishment, theater or other commercial establishment includes an adult
                                    use should include consideration of the amount of floor area and cellar space
                                    accessible to customers allocated to adult use for performance and viewing
                                    purposes as compared to total combined floor area and cellar space
                                    accessible to customers.

                                    Thus, if an eating or drinking establishment, a theater or other commercial
                                    establishment, has at least 40 percent of the floor and cellar area that is
                                    accessible to customers, available for adult performance and viewing
                                    purposes, then a "substantial portion" of the establishment is devoted to an
                                    adult use and is an "adult eating or drinking establishment", an "adult theater"
                                    or an "other adult commercial establishment."

                                    If 10,000 or more square feet of an eating or drinking establishment, a theater
                                    or other commercial establishment is occupied by an adult use, the
                                    establishment is deemed to be an "adult eating or drinking establishment", an
                                    "adult theater" or an "other adult commercial establishment" regardless of the
                                    overall size of the establishment.

                                    Adult entertainment should be the principal form of entertainment at the

                                                           JNR-000125
                                    establishment.                                                                     0503
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 Reference:                               Zoning Resolution Sections 12-10, 32-·01, 32-69, 42-01, 42-55, 52-734, 52-77, I
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• Purpose:                                To provide guidance as to the meaning of the phrase "substantial portion" as      I
                                       .I~::~i:ti!i definition of "adu It establishment' in Section 12-10 of the Zoning     j




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                                    as an establishment, a "substantial portion" of which is occupied by an adult
                                    book store, adult eating or drinking establishment, adult theater, or "other adult
                                    commercial establishment" ("adult use"). The phrase "substantial portion" is
                                    again used to define an adult book store as a book store with a substantial
                                    portion of its stock-in-trade in materials as defined in ZR §12-10 (a)(1) and (a)
                                    (2) ("adult materials"). In order that the provisions relating to adult
                                    establishments be properly enforced, this OPPN sets forth guidelines to clarify
                                    the meaning of the phrase "substantial portion."

                                    I. Adult Book Store

                                    An establishment shall be deemed a book store if its principal use is selling
                                    books, magazines, periodicals or other printed matter or photographs, films,
                                    motion pictures, video cassettes, slides or other visual representations,
                                    regardless of floor area. If at least 40 percent of the book store's total stock
                                    accessible or available ("accessible") for sale or rent to customers is
                                    comprised of adult materials, then the book store has a "substantial portion" of
                                    its stock in adult materials, and is therefore an "adult book store."

                                    An establishment also includes an adult book store if 40 percent of the
                                    establishment's floor area and cellar space accessible to customers contains
                                    stock in adult materials.

                                    If 10,000 or more square feet of an establishment is occupied by adult
                                    materials, the establishment is deemed to be an "adult book store" regardless
                                    of the overall size of the establishment.

                                    General interest stores, including general interest book and video stores, with
                                    a section of adult materials that is modest in scale as compared to the overall
                                    size or stock of the store, are not intended to be covered by the adult
                                    establishment definition in ZR § 12-10.

                                    II. Adult Establishment

                                    The determination as to whether a "substantial portion" of a commercial
                                    establishment with two or more uses, at least one of which is not a book store,
                                    an eating or drinking establishment, a theater, or an "other adult commercial
                                    establishment," includes an adult use should include consideration of (1) the
                                    amount of floor area and cellar space accessible to customers allocated to
                                    adult use and (2) such amount of floor area and cellar space as compared to
                                    total combined floor area and cellar space accessible to customers.

                                    Thus, if a commercial establishment with two or more uses, at least one of
                                    which is not a book store, an eating or drinking establishment, a theater, or an
                                    "other adult commercial establishment," has at least 40 percent of the floor and
                                    cellar area that is accessible to customers available for adult use, then a
                                    "substantial portion" of the establishment is devoted to an adult use and the
                                    commercial establishment is deemed to be an adult establishment.



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                              If 10,000 or more square feet of a commercial establishment with two or more
                              uses, at least one of which is not a book store, an eating or drinking
                              establishment, a theater, or an "other adult commercial establishment," is
                              occupied by an adult use, the commercial establishment is deemed to be an
                              "adult establishment" regardless of the overall size of the establishment.

                                    Section II shall not apply to a commercial establishment that is entirely an
                                    eating or drinking establishment, a theater, an "other adult establishment," or
                                    any combination thereof.




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 jsupersedes:                                                I~;!i;y and Proced~re Notice #2195 dated January 24, 1995, revised May8,
 Purpose:                                                        To clarify the Department's implementation of the optional plan review
                                                                 procedures, which allow a Professional Engineer (PE) or Registered Architect
                                                                 (RA) to certify compliance with applicable laws and codes on applications filed
                                                                 by him/her as applicant, and which continue to enable a contractor to request a
                                                                 work permit after all required information is data entered into the Building
                                                                 Information System (BIS).
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 Policy:                                                         Since 1995, the Department of Buildings has had and will continue to provide a
                                                                 mechanism for PE/RAs to certify compliance with applicable laws and codes on
                                                                 applications filed with the Department. Participation in these procedures calls I
                                                                 for the display of appropriate standards of professional competence and         I                                                                                                                                                                          0510
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                             integrity by the licensed professional. This Policy and Procedure Notice sets
                             forth the procedures for preparing, submitting, approving and auditing these
                             applications, as well as the procedures for suspension or exclusion of
                             professionals from the professional certification or limited supervisory check
                             procedures:


 Specifics:                       Restrictions:

                                       " For a job requiring Board of Standards and Appeals (BSA) approval, plans
                                         and applications must be filed through the standard plan review process,
                                         but the professional certification or limited supervisory check procedures
                                         may be utilized after the BSA has rendered its decision.
                                       • For a job requiring Landmarks Preservation Commission, Loft Board, or
                                         City Planning Commission approval or certification, a PE/RA may only use
                                         the professional certification or limited supervisory check procedures after
                                         obtaining such approval or certification from the respective agency.
                                       " For any application where a waiver must be sought from compliance with
                                         any provision of Local Law 58 of 1987, a PE/RA may use the professional
                                         certification or limited supervisory check procedures only after obtaining
                                         both an advisory opinion from the Mayor's Office for People with
                                         Disabilities, and a determination from the Borough Commissioner that a
                                         waiver is to be granted. If such a determination is made, then a PE/RA
                                         must certify that all provisions and conditions of the waiver have been
                                         satisfied. If the Borough Commissioner determines that a waiver will not
                                         be granted, the applicant must revise the application accordingly before
                                         the professional certification or limited supervisory check procedures can
                                         be utilized.
                                       • For a filing concerning property of foreign governments, plans and
                                         applications must include a "Letter of No Objection" from the Office of
                                         Foreign Missions of the U.S. Department of State, consistent with
                                         Technical Policy and Procedure Notice 5/94.



                                  The applicant must submit a complete set of plans and documents required for
                                  the work type(s) filed. This submission must be complete and in accordance
                                  with code, zoning, and applicable laws. At a minimum, the submission shall
                                  meet the requirements set forth in Administrative Code sections 27-156 and 27-
                                  157 for new buildings and sections 27-161 and 27-162 for alterations.

                                   The submission must include:

                                       1. Separate lists of items required for approval, permit, final signoff or
                                          Certificate of Occupancy as well as required controlled inspections. For
                                          each item on the list the applicant must make a notation of Yes (Y) or No
                                          (N) to indicate whether the item is required. Each list must be signed and
                                          sealed by the applicant. The application will be rejected if any information
                                          is missing, incomplete or not provided as required.

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                                2. Two stamped envelopes, one addressed to the applicant and one
                                   addressed to the owner, which will be used to return the application if the
                                   package is incomplete.
                                3. A certification by the applicant in Section 16 of the PW-1 stating as
                                   follows:

                                           "I hereby state that I have exercised a professional standard of care in
                                           certifying that the filed application is complete and in accordance with
                                           applicable laws, including the rules of the Department of Buildings, as of
                                           this date. I am aware the Commissioner will rely upon the truth and
                                           accuracy of this statement. I have notified the owner or owner's authorized
                                           representative that this application has been professionally certified. If an
                                           audit or other exam discloses non-compliance, I agree to notify the owner
                                           or the owner's authorized representative of the remedial measures that
                                           must be taken to meet legal requirements. I further realize that any
                                           misrepresentation or falsification of facts made knowingly, recklessly or
                                           negligently by me, my agents or employees, or any knowing or reckless
                                           disregard on my part of any misrepresentation or falsification of facts
                                           made by others, will render me liable for legal and disciplinary action by
                                           the Department of Buildings and other appropriate authorities, including
                                           termination of participation in the professional certification or limited
                                           supervisory check procedures at the Department of Buildings."

                                  If there is not enough space in Section 16 of the PW-I form for the entire
                                  certification, the applicant may make the certification on a separate Al-1 Form.
                                  The applicant must then state it is opting for professional certification in Section
                                  16 of the PW-1, with a reference to the certification on the separate Al-1 Form.

                                   If the applicant is using PC filing, a certification will be added to the application
                                   automatically by selecting the "apply" button on the appropriate screen during
                                   the PC filing program. The applicant must also indicate that it is opting for
                                   professional certification pursuant to this Policy and Procedure Notice (including
                                   the certification set forth above) in the "Considerations" section.

                                   Applicants who file under the professional certification option cannot
                                   subsequently request plan examination review or approval. To obtain an
                                   examination and approval by the Department, the applicant must apply, in
                                   writing, to withdraw the application and then file a new application, with fees, for
                                   assignment to a plan examiner. Applicants may request a preliminary
                                   consideration about a code or zoning issue before filing their application using
                                   an Al-1 form addressed to the Borough Commissioner or his/her designee.
                                   Interpretations and decisions made during the preliminary consideration shall
                                   be given in writing and a copy of same will become part of the job application.

                                   All work types filed under a job number must be professionally certified. In
                                   instances where multiple work types are filed simultaneously by multiple
                                   applicants, under one job number, only one list of items required for approval,
                                   permit, final signoff or Certificate of Occupancy, as well as required controlled
                                   inspections, shall be submitted.

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                             The applicant will submit the completed package to the pre-filing section for
                             data entry. The applicant, at that time, must alert the pre-filer that the
                             application will be professionally certified as indicated on the PW-1.

                                  The applicant will pay the filing fee at the cashier.

                                  An approval status will be data entered into the computer unless the package is
                                  incomplete. An incomplete package may be re-submitted to the DEAR (Data
                                  Entry and Research) unit by the applicant when all required information has
                                  been compiled and will be given priority processing.

                                  All required items needed for approval must be submitted with the initial
                                  submission. Amendments and corrections to professionally certified
                                  applications must be professionally certified. Subsequent filings must be
                                  reviewed and approved by pre-filing. Filings for additional work types must be
                                  filed as a new application and receive a separate job number. Expansions to
                                  the scope of the application or work types must be filed as a post-approval
                                  amendment (PAA). All PAAs must be reviewed and approved by the Borough
                                  Commissioner or his/her designee.

                                   Borough Office Procedures:
                                   Pre~Filing:

                                  The pre-filing unit will review the documents for completeness and verify that a
                                  PW-1 and any supplementary Al-1 s containing the signed and sealed
                                  statements listed above are included. The pre-filer will stamp the application
                                  and plans "Professional Certification." If the application is not complete because
                                  of missing or insufficient data, the application will be returned to the applicant or
                                  filing representative and will not be processed.

                                   In addition to entering required pre-filing data, the pre-filer will indicate "Y" next
                                   to the question "Professional Certification by Applicant of Job?" on the "Initial
                                   Pre-filing - Additional Considerations" screen to indicate that the application is
                                   being professionally certified. Fees will be calculated based on the work type(s)
                                   filed.

                                   Cashier:

                                   The Cashier will accept the fee. If the application requires data entry, the
                                   package will be forwarded to the DEAR unit. If the application is going to be
                                   filed using the PC Filing program, the package will be forwarded to the PC
                                   Filing Clerk.

                                   PC Filing Clerk:

                                   If the applicant intends to file the application using the PC Filing program, the
                                   PC Filing clerk will up-load the data from the PC Filing disk. Disks that cannot
                                   be processed because of missing or incorrect information will be returned to the
                                   applicant to be revised and resubmitted.

                                   DEAR:
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                                                           JNR-000133                                                   0513
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                             The DEAR unit will review the documents, including the PC Filing full report, for
                             clerical completeness prior to data entry. If the package does not contain all
                             documents and information required for approval as stated on the required
                             items list, a form letter shall be placed in the self-addressed stamped envelopes
                             included in the package and mailed to the applicant and owner. The status of
                             the application will be listed in the computer as "Suspend" or "Disapprove",
                             depending on the status of the application. (The application must not be
                             rejected if the only missing documentation is the self-addressed stamped
                             envelopes. If other documents are also missing which cause the application to
                             be rejected, the Department is otherwise under no obligation to notify the
                             applicant by mail.)

                                     All data entry and processing of rejection letters must be completed within 10
                                     working days.

                                 IThe DEAR unit will data enter the plan examination information and approval by
                                 1
                                     using special user ID codes assigned for this purpose. The DEAR unit will then
                                     stamp the application and plans "Approved per OPPN 5/02".

                                     Audit Procedures:

                                     Within 45 days of acceptance by the Department, at least 20% of all
                                     professionally certified applications will be reviewed. A representative sample of
                                     application types will be randomly selected for review. All applications are
                                     subject to audit.

                                     Applications selected for review will be assigned to an examiner from the
                                     Technical Compliance Unit located in the Borough Office. The review will focus
                                     on the following four areas: 1) accuracy of zoning calculations, 2) fire protection
                                     and occupant safety, 3) egress requirements, and 4) appropriateness of fees. A
                                     full review may also be conducted at any time based upon receipt of a
                                     complaint, evidence of non-compliance, or other determination made by the
                                     Department. All audits and results will be recorded in the BIS system and
                                     reported monthly to the Assistant Commissioner for Technical Affairs.

                                     If objections are found during this review, they will be noted on an objection
                                     sheet and forwarded to the applicant and owner. If a permit has been issued, a
                                     10-day notice of intent to revoke the permit will be included with the objections.
                                     If, within 10 days or other authorized time period, the Department receives no
                                     written response to the i 0-day notice of intent to revoke, or if the Department
                                     receives a response that is insufficient in that it does not fully resolve the
                                     objections or propose acceptable corrective action to be immediately
                                     undertaken, then a final notice of revocation will be sent to the applicant.
                                     Applications receiving objections will be processed using the standard plan
                                     examination process until the application has been corrected and the
                                     application is approved, or until other final disposition of the application.
                                     Appointments to review objections and responses can be scheduled by the
                                     applicant or applicant's representative via the Department's Central Call Center.



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                                     A. Directive 14 and the Professional Certification of Application and
                                        Plans Process (OPPN #5/02) shall not be used for any filing related
                                        to adult establishments. No permit issued under a professionally
                                        certified application shall be a basis for an establishment to secure
                                        its priority to operate as an adult establishment.



                                               B. ZR §§32-01 (c) and 42-01 (c) prohibit an adult establishment from
                                                  locating within 500 feet of another adult establishment. ZR §§32-01
                                                  (d) and 42-01 (d) prohibit more than one adult establishment on a
                                                  zoning lot.

                                                   For an adult establishment that began operating on or after August
                                                   8, 2001, a Department permit is required to secure its priority to
                                                   operate as an adult establishment at a particular location. For an
                                                   adult establishment that is identified by the Department as having
                                                   been operating as a lawful adult establishment prior to August 8,
                                                   2001, a Department permit is not required to secure its priority.
                                                   However, if an adult establishment operating prior to August 8, 2001
                                                   does not obtain a Department permit to secure priority, it might not
                                                   be able to establish its priority to operate as an adult establishment.

                                                   Securing priority to operate as an adult establishment means that
                                                   another adult establishment that subsequently proposes to locate or
                                                   locates within 500 feet of it or on the same zoning lot will not be
                                                   allowed.



                                               C. For all filings relating to existing or proposed adult establishments,
                                                  the applicant shall indicate in Section 16 (comments) of the PW1
                                                  application form that the filing is to create, alter, enlarge or extend
                                                  an adult establishment or to erect a business sign accessory to an
                                                  adult establishment or that the filing otherwise involves an adult
                                                  establishment. Priority to operate as an adult establishment at a
                                                  permitted location shall be as of the issuance date of the permit that
                                                  authorizes the adult use.

                                                   To secure priority as an adult establishment when no work requiring
                                                   a building permit is proposed, an applicant may file an Alteration
                                                   (Alt.) Ill application with the Department and secure a "no work"
                                                   permit.



                                               D. A filing/application to secure priority as an adult establishment shall
                                                  include the following:



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                                          1. a separate area diagram detailing all existing uses and block
                                             and lot numbers within 500 feet of the center line of the door(s)
                                             of the principal entrance of the proposed adult establishment
                                             or of the center line of the ground floor of the door(s) giving the
                                             most direct street access to the proposed adult establishment,
                                             including a statement that there are no churches or schools
                                             within the 500 foot radius;
                                          2. a survey detailing the zoning districts within 500 feet of the
                                             center line of the door(s) of the principal entrance of the
                                             proposed adult establishment or of the center line of the
                                             ground floor of the door(s) giving the most direct street access
                                             to the proposed adult establishment;
                                          3. a statement that no other adult establishment exists within 500
                                             feet of the center line of the door(s) of the principal entrance of
                                             the proposed adult establishment or of the center line of the
                                             ground floor of the door(s) giving the most direct street access
                                             to the proposed adult establishment.



                                        II. PLAN EXAMINER

                                 i An objection shall be raised if: (1) there exists a church, school, or another adult
                                 1
                                     establishment whether existing, permitted, or approved, within 500 feet of the
                                     proposed adult establishment; (2) there is an adult establishment whether
                                     existing, permitted, or approved, on the same zoning lot as the proposed adult
                                     establishment; (3) the proposed adult establishment is in or within 500 feet of a
                                     prohibited zoning district; or (4) the proposed adult establishment fails to comply
                                     in any other way with zoning or other applicable provisions.




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                                    ions Policy And Procedure Notices

SUPERSEDED BY: BUILDINGS BULLETIN 2016-010, DATED April 8, 2016
                                                                   . .. _______ ., ___________
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[[Date:                                                           JJanuary 16,2~04.
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 [subject:                                                        .IProfessional Certification of Applications and Plans
                           . --·---,-•-~------···'"·····-··-·--                                                                                                .       ..                               - -- -                              . ..                   ..                          .      ···----·····                                ·--·--      ·----



 [Effective: ..                                                                                                                                                                                                                                                                                                                                                                           ;
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                                                                     Operations Policy and Procedure Notice # 3/03 dated May 6, 2003.
 Is upcrsedes: .......                                                   ....,-.   """"'""'""""'"                             .......                    -----                            ''""""""""   ............, , , ...... ___.                                        ..... ··-··                                                                                     ......
                                                                                                                                                                                                                                                                                                                                                                                          I



 Purpose:                                                           To clarify the New York City Department of Buildings' implementation of the
                                                                    optional plan review procedures, which allow a Professional Engineer (PE) or
                                                                    Registered Architect (RA) to certify compliance with applicable laws and codes
                                                                    on applications filed by him/her as applicant.
              ..........                   ... ,, .. , .......           ..... ...............      ......           •··•··       """"'"'"    ··-···--····"·······--···----·--·-·-·'"""       ...      ····· ..      ,   .......... , ... ,. ......... ' " " " "   ...........     ....... --- ---· ··-·-- --·--     ., .....,   ___            ...                       . ...........


 Policy:                                                             Since 1995, the Department of Buildings ("DOB") has had and will continue to
                                                                     provide a mechanism for PEs/RAs to certify compliance with all applicable laws
                                                                     and codes on applications filed with the Department ("professional
                                                                     certification"). Participation in these procedures calls for the display of
https://www1.nyc.gov/site/buildings/codes/oppn0104.page
                                                                                                                                             JNR-000139                                                                                                                                                                                                                            0521
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                                                           appropriate standards of professional competence and integrity by the licensed
                                                           professional. This Policy and Procedure Notice sets forth the procedures for
:                                                          preparing, submitting, approving and auditing these applications, as well as
                                                           supplementary procedures for suspension or exclusion of professionals from
                                                           professional certification.
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    Procedure:
                                             L. Armlicant:
                                             A. The applicant must submit a complete set of plans and documents required
                                             for the work type(s) filed. This submission must be complete, coordinated and in
                                             accordance with code, zoning, and all applicable laws. At a minimum, the
                                             submission shall meet the requirements set forth in Administrative Code
                                             Sections 27-156 and 27-157 for new buildings and Sections 27-161 and 27-162
                                             for alterations.

                                             The submission must include:

                                             1. Completed form PW-1, including the applicant's statement that the job will be
                                             professionally certified, and referencing the applicant's and owner's
                                             certifications on Form POC-1.

                                             2. Completed new Form POC-1, appended to this Notice, as follows:

                                             a.Certification by the applicant, signed and sealed, stating the following:

                                             "I hereby state that I have exercised a professional standard of care in certifying
                                             that the filed application is complete and in accordance with applicable laws,
i                                            including the rules of the Department of Buildings, as of this date. I am aware
                                             the Commissioner will rely upon the truth and accuracy of this statement. I have
                                             notified the owner that this application has been professionally certified. If an
                                             audit or other exam discloses non-compliance, I agree to notify the owner of the
                                             remedial measures that must be taken to meet legal requirements. I further
                                             realize that any misrepresentation or falsification of facts made knowingly or
                                             negligently by me, my agents or employees, or by others with my knowledge,
                                             will render me liable for legal and disciplinary action by the Department of
                                             Buildings and other appropriate authorities, including termination of participation
                                             in the professional certification procedures at the Department of Buildings."

                                              b. Statement and signature by the owner, as follows:

                                              "I have read and am fully aware of the applicant's above statement that this job
                                              will be professionally certified, and agree to bring into compliance any
                                              construction which is found not to comply with all applicable laws and
                                              regulations."

                                              c. Fax number and email address for the applicant, the owner, and the filing
                                              representative.

                                              3. Completed form PC-1 (latest revision), "Required Items Checklist," with
                                              separate lists of items required for approval, permit, final sign--off or Certificate

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                                     of Occupancy, as well as required controlled inspections.

                                     a.The applicant shall add under "Items Required Prior to Approval" the
                                     following:

                                     Borough Commissioner waiver of Local Law 58 of 1987.

                                     b. The applicant shall add under "Items Required Prior to C/O or Sign-Off" the
                                     following:

                                     Federal Emergency Management Agency ("FEMA") "Elevation Certificate and
                                     Instructions," latest revision.

                                     For each item on the list, the applicant must make a notation of Yes ("Y") or No
                                     ("N") to indicate whether the item is required. Each list must be signed and
                                     sealed by the applicant. The application will be rejected if any information is
                                     missing, incomplete or not provided as required.

                                     4. Two stamped envelopes each, addressed to the applicant, the owner and the
                                     filing representative, which will be used to return the application if the package
                                     is incomplete, and to mail objections if given in audit.

                                     5.Written preliminary considerations: Applicants are strongly encouraged to
                                     request a preliminary consideration about a code or zoning issue before filing
                                     their professionally certified application using an Al-1 form addressed to either
                                     the Executive Director of the Technical Compliance Unit ("TCU"), the Borough
                                     Commissioner or his/her designee. Opinions made during the preliminary
                                     consideration shall be given in writing and will become part of the professionally
                                     certified job application.

                                     6. Easements and declarations, if appropriate, must be submitted and recorded
                                     in accordance with LPPN #1/04 prior to the applicant's approval and approval in
                                     DEAR.

                                     7. Zoning lot declaration exhibits if required in accordance with Memorandum of
                                     Acting Commissioner Irving E. Minkin, P.E., dated 5/18/78.

                                     8. Approval documents from any of the following entities as appropriate, when
                                     they become available during the application process:

                                     a. Required approvals from other agencies: For a job requiring approval by any
                                     of the following agEmcies, the professional must

                                     1.file the application in accordance with this procedure;

                                     2. receive "Suspended" status in the Data Entry and Research Unit ("DEAR");

                                     3. use the assigned DoB job number to obtain the respective agency approval;
                                     and then



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                                    4. proceed to approval in DEAR. Professionally certified applications cannot
                                    pass through DEAR without the required approvals included in the folder:

                                    Board of Standards and Appeals ("BSA") (applications modifying existing BSA
                                    variance or special permit)
                                    City Planning Commission ("CPC")
                                    Landmarks Preservation Commission ("LPC")
                                    Loft Board
                                    Department of Environmental Protection ("DEP")
                                    Housing, Preservation and Development ("HPD")
                                    Certificate of No Harassment

                                    b. BSA variance: For a job requiring a variance from BSA, in addition to the
                                    above process, the applicant must pay the filing fee to the cashier and then
                                    schedule an appointment with an Auditor and provide documentation, including
                                    drawing(s), clearly demonstrating every issue for which a BSA variance is
                                    required. The Auditor will issue preliminary objection(s) to the applicant based
                                    upon the submission, and the applicant must then obtain the formal denial from
                                    either the Borough Commissioner or designee and go before BSA. Upon
                                    issuance of the variance by BSA, the applicant shall return the folder to DEAR
                                    for data entry as above.

                                    c. LPC approval for calendared landmarks: Applications for buildings that have
                                    been calendared for individual designation or that are included in districts
                                    calendared for designation by LPC may be filed using the professional
                                    certification process, but the professionally certified application can only be
                                    approved after 40 calendar days following completion of data entry in DEAR.
                                    However if the applicant provides a Certificate of No Effect issued by LPC, a
                                    copy of the certificate will be placed in the folder and the job can proceed
                                    through the filing process before the expiration of 40 calendar days.

                                    d. Borough Commissioner approval of Local Law 58 waiver: For any application
                                    where a waiver is sought from compliance with any provision of Local Law 58 of
                                    1987 ("LL 58/87"), a PE/RA must state the requirement on the PC-1 form and
                                    may complete the professional certification application in DEAR only after the
                                    Mayor's Office for People with Disabilities issues an advisory opinion and the
                                    Borough Commissioner issues a determination that a waiver will be granted in
                                    accordance with Administrative Code Section 27--292.6. Both the advisory
                                    opinion and the waiver shall be placed in the job folder. If such a determination
                                    is made, then a PE/RA must certify that all provisions and conditions of the
                                    waiver have been satisfied.

                                    e. United States Department of State: For a filing concerning property of foreign
                                    governments, the application must include a "Letter of No Objection" from the
                                    Office of Foreign Missions of the U.S. Department of State, consistent with
                                    Technical Policy and Procedure Notice #5/94.

                                     B. PC filing and professional certification:


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                                     If the applicant is using disk filing ("PC filing"), a certification will be added to the I
                                     application automatically by selecting the "apply" button on the appropriate              '
                                     screen during the PC filing program. The applicant must also submit a POC-1
                                     form with the updated applicant's statement and the owner's statement as
                                     above, which will supersede this automatic statement. Finally, the applicant
                                     must indicate that s/he is opting for professional certification pursuant to this
                                     Policy and Procedure Notice in the "Considerations" section. All pages of the
                                     signed and sealed hard copies must be initialed and dated by the applicant.

                                     C. For any professionally certified job, all work types filed under that job number
                                     must be professionally certified. In instances where multiple work types are filed
                                     simultaneously by multiple applicants, under one job number, only one list of
                                     items required for approval, permit, final sign-off or Certificate of Occupancy, as
                                     well as required controlled inspections, shall be submitted.

                                     D. Process

                                     1. The applicant will submit the completed package to the pre-filing section for
                                     data entry. The applicant, at that time, must alert the pre-filer that the
                                     application will be professionally certified as indicated on the PW-1.

                                     2. The applicant will pay the filing fee at the cashier.

                                     3. An approval status will be data-entered into the BIS system unless the
                                     package is incomplete. An incomplete package may be re-submitted to the
                                     DEAR unit by the applicant when all required information, including approvals of          1




                                     other agencies as noted above, has been compiled.

                                     E. Related submissions

                                     1. All required items needed for approval must be submitted with the initial
                                     submission. Amendments and corrections to professionally certified
                                     applications must be professionally certified. Subsequent filings must be
                                     reviewed and filed through the pre-filing unit.

                                     2. Filings for additional work types to the original must be filed as a new
                                     application and receive a separate job number, and must reference the original ,
                                     application. In addition, a reference must be added to the original application on
                                     an Al-1 form referencing all subsequent applications for the project.

                                     3. Expansion to the scope of work of a professionally certified job must be filed
                                     as a post-approval amendment ("PAA") and must be professionally certified.

                                     4. A New Building ("NB") and/or Alteration Type I ("Alt. 1 ") professionally
                                     certified application on the same zoning lot as other NB or Alt. 1 applications
                                     must reference the other applications, whether they are filed earlier or later than
                                     the proposed professionally certified application. If the proposed application
                                     precedes the other NB or Alt. i application(s), such reference must be provided
                                     by Al-1 form.


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                              f. Applicants who file under the professional certification option may not
                              subsequently request audit, plan examination review or approval. To obtain an
                              examination and approval by the Department, the applicant must apply, in
                              writing, to withdraw the professionally certified application and then file a new
                              application, with full fees, for assignment to a plan examiner.

                                        2, Borough Office Procedures:

                                        a. Pre-Filing:

                                      The pre-filing unit will review the documents for completeness and verify that a
                                      PW-1 and a POC-1 containing the certifications listed above are included. The
                                    i pre-filer will stamp the application and plans "Professional Certification." If the

                                      application is not complete because of missing or insufficient data, the
                                      application will not be accepted.

                                        In addition to entering required pre-filing data, the pre-filer will indicate "Y" next
                                        to the question "Professional Certification by Applicant of Job?" on the "Initial
                                        Pre-filing - Additional Considerations" screen to indicate that the application is
                                        being professionally certified. Fees will be calculated based on the work type(s)
                                        filed.

                                        If the application requires approval by other agencies, except BSA, the pre-filer
                                        will give the folder to the applicant with a job number.

                                    ! b. Cashier:

                                        The cashier will accept the fee. If the application requires data entry, the
                                        package will be forwarded to the DEAR unit. If the application is being filed
                                        using the disk filing ("PC Filing") program, the package will be forwarded to the
                                        PC Filing clerk.
                                        If BSA approval is required, the cashier will return the folder to the applicant.
                                    i
                                    i c. PC Filing Clerk:
                                        If the applicant intends to file the application using the PC Filing program, the
                                        PC Filing clerk will up-load the data from the PC Filing disk. Disks that cannot
                                        be processed because of missing or incorrect information will be returned to the
                                        applicant to be revised and resubmitted.

                                        d. DEAR:

                                        The DEAR unit will review the documents, including the PC Filing full report, for
                                        clerical completeness prior to data entry. If the package does not contain all
                                        documents and information required for approval as stated on the "Required
                                        Items Checklist," a form letter shall be placed in tr1e self-addressed stamped
                                        envelopes included in the package and mailed to the applicant and owner. The
                                        status of the application will be listed in BIS as "Suspend" if items are missing
                                        or "Disapprove" if documents are incorrect.



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                             The application must not be rejected if the only missing documentation is the
                             self-addressed stamped envelopes. If other documents are also missing which
                             cause the application to be rejected, the Department is otherwise under no
                             obligation to notify the applicant by mail.

                                  All data entry and processing of rejection letters must be completed within 10
                                  business days.

                                  The DEAR unit will data-enter the plan examination information and approval,
                                  and then stamp the application and plans "Approved by Applicant's Professional
                                  Certification. "

                                  e. Permitting:

                                  Once the application is approved by the applicant's professional certification,
                                  the permit section will receive from the permit applicant the appropriate
                                  documents and fees, and issue the permit.

                                  3. Audit Procedures:

                                  a.General

                                  1. All professionally certified subdivision applications will be audited.

                                   2. Approximately 20% of all other professionally certified applications will be
                                   audited within 10 business days of permit. A representative sample of
                                 · application types will be randomly selected for review. Should a selected
                                   application be part of a cluster or development filing, the Auditor will audit the
                                   site plan and the lead folder(s) for the cluster or development.

                                  3. All applications are subject to audit.

                                  4. Appointment scheduling and communications between applicant and auditor
                                  shall occur primarily through email.

                                  b. Post-approval amendments ("PAAs"):

                                  1. Within 1O business days of post-permit PAAs on professionally certified
                                  applications, approximately 20% will be audited based upon random selection.

                                  2. Additional or replacement drawings submitted with an Al-1 form may be
                                  reviewed by an Auditor or Plan Examiner for fees and/or scope of work prior to
                                  stamping, perforation and microfilming.

                                  c. Audit focus

                                  1.Applications for subdivision of improved property will be reviewed to ensure
                                  that any newly created improved tax lot will comply with zoning regulations,
                                  either as a potentially independent zoning lot or as part of a larger zoning lot
                                  pursuant to a zoning lot declaration.


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                                    1
                                        2. Applications selected for audit will be assigned to an auditor from the
                                        Technical Compliance Unit ("TCU") located in the Borough Office. The review
                                        will focus on, but not necessarily be limited to, the following five areas: 1)
                                        zoning regulations and accuracy of calculations, 2) fire protection and occupant
                                        safety, 3) egress requirements, 4) Local Law 58 of 1987 regarding access for
                                        persons with disabilities, and 5) appropriateness of fees. The results of the audit
                                        will be entered in BIS, posted on the public screen and on BIS Web.

                                        3. A full review of a professionally certified application may also be conducted at
                                        any time based upon receipt of a complaint, evidence of non--compliance, or
                                        other determination made by the Department.

                                        d. Audit process:

                                        ·1. Business Day 10 +/- following permit:

                                        a. If the Auditor finds no objection to the application, s/he will enter an
                                        "Accepted" status in BIS and no further action will be taken.

                                        b. If minor objections are raised during the audit which pertain to processing
                                        paperwork or fees, but there are no substantive issues of zoning, life safety
                                        and/or accessibility, they will be noted on an Objection Sheet and faxed or
                                        emailed to the applicant with a marked Audit Notice and appointment date. The
                                        Auditor will enter a status of "Conditional Acceptance" in BIS.

                                        c. If objections are raised during the audit which pertain to substantive issues of
                                        zoning, life safety and/or accessibility, they will be noted on an Objection Sheet
                                        and faxed or emailed to the applicant with a marked Audit Notice, 10-Day
                                        Revocation Notice and appointment date, and may also be faxed or emailed to
                                        the owner and the filing representative. A stop-work order may also be issued if
                                        the Borough Commissioner deems it warranted. The Auditor will enter a status
                                        of "10-Day Revocation Notice" in BIS.

                                        Note:lnformation relating to zoning, life safety and/or accessibility which is
                                        required by law to be included in the drawings and which is missing will be
                                        cause to issue a 10-Day Revocation Notice.

                                        2. The applicant will have 10 business days to make required corrections and
                                        meet with the Auditor.

                                        3. Day 20 +/- following permit:

                                        a. If at the end of 10 business days the applicant resolves all objections, then
                                        the Auditor will enter a status of "Accepted" in BIS and no further action will be
                                        taken by the Auditor.

                                        b. If at the end of ·1 O business days the applicant meets with the Auditor but has
                                        not resolved all the objections, then the Auditor will enter, or may continue, a
                                        status of "i 0-Day Revocation Notice" in BIS, and will fax or email the Notice to
                                        the owner and the filing representative. The applicant may either schedule one
                                        more appointment with the Auditor to resolve all outstanding objections or
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                                 i appeal to the Executive Director of TCU or the Borough Commissioner for a
                                  reconsideration of specific remaining issue(s).

                                  c. If the applicant fails to appear at the appointed meeting time or to reschedule
                                  the meeting within the 10-day period, or if the Department determines that the
                                  permit was issued in error, the Auditor will recommend to the Executive Director
                                  of TCU and to the Borough Commissioner that the Borough Commissioner
                                  revoke the permit. Upon review and concurrence, the Borough Commissioner
                                  will revoke the permit and order an inspection of the jobsite.

                                  4. The applicant should amend the documents as required to resolve all
                                  objectionsor to prepare the Reconsideration Al-1 form and documents as
                                  appropriate.

                                  5. Day 30 +/·· following permit:

                                  a. If the applicant requests reconsideration from the Executive Director of TCU
                                  or the Borough Commissioner and it is granted, then the Executive Director or
                                  Borough Commissioner will sign the Al-1 form and return the submitted
                                  documentation to the Auditor. The Auditor will verify that all objections have
                                  been resolved and, if so, fax or email an Audit Notice notifying the applicant,
                                  owner and filing representative of same, and enter a status of "Accepted" in
                                  BIS.

                                  If not all objections have been resolved, then the status will remain as "10-Day
                                  Revocation Notice" and the Auditor will recommend revocation to the Executive
                                  Director of TCU and the Borough Commissioner. Upon review and
                                  concurrence, the Borough Commissioner will revoke the permit.

                                  b. If the applicant requests reconsideration from the Executive Director of TCU
                                  or the Borough Commissioner and the Executive Director or Borough
                                  Commissioner conditions his/her acceptance on certain changes to which the
                                  applicant agrees, thens/he will note same on the Al-1 form, sign it and send the
                                  marked form and other documentation to the Auditor. The BIS status will remain
                                  "10-Day Revocation Notice".


                                  b. If the applicant requests reconsideration from the Executive Director of TCU
                                  or the Borough Commissioner and the Executive Director or Borough
                                  Commissioner denies same, then the Borough Commissioner will revoke the
                                  permit and issue a stop-work order. The denied Al-1 form and all other
                                  documentation will be delivered to the Auditor who will enter a status of "Failed:   1


                                  Permit Revoked" in BIS. The Borough Commissioner will assign the application
                                  to a plan examiner for any further action requested by the applicant.



                                  c. If the applicant does not request a reconsideration and meets with the Auditor,
                                  with all objections resolved, then the Auditor will enter a status of "Accepted" in
                                  BIS. If all objections are not resolved, the Auditor will recommend revocation to

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                                    the Executive Director of TCU and the Borough Commissioner. If either
                                    overrides the Auditor's objection(s), then the Auditor will enter an "Accepted"
                                    status in BIS. If the Borough Commissioner or designee concurs with the
                                    Auditor, then the Borough Commissioner will revoke the permit and issue a
                                    stop-work order. The Borough Commissioner will assign the application to a
                                    plan examiner.

                                    6. Following a meeting with the Executive Director of TCU or the Borough
                                    Commissioner, if corrections or additions are required, the applicant will make
                                    the appropriate changes and arrange a final meeting with the Auditor.

                                    7. Day 40 +/-:

                                    a. If all objections are resolved and conditions of reconsideration are met, then
                                    the Auditor will enter a status of "Accepted" in BIS.

                                    b. If all objections are not resolved as required, then the Auditor will recommend
                                    revocation to the Executive Director and the Borough Commissioner similarly to
                                    the process on Day 30 above. Upon review and concurrence, the Borough
                                    Commissioner will revoke the permit. The application will be assigned to a plan
                                    examiner.

                                    8. Upon revocation of the permit, copies of the revocation letter and objections
                                    will be sent to the Deputy Commissioner for Technical Affairs and the Office of
                                    Investigation and Discipline.

                                     9. Upon revocation of the permit, should the applicant wish to continue the job,
                                     s/he must apply to reinstate the permit within two years of the original permit,
                                     and pay the reinstatement fee of one hundred dollars. The application will be
                                     reviewed by a plan examiner for all applicable laws and regulations, including
                                     those which have come into effect since the original filing. Following approval
                                     by the plan examiner, the permit will be reinstated.

                                     e. All audits and results will be recorded in the BIS system and reported
                                     monthly to the Deputy Commissioners for Technical Affairs and Operations.

                                     f. At the discretion of the Borough Commissioner, any application and/or permit
                                     may be suspended immediately pursuant to Section 27-197 of the New York
                                     City Administrative Code, provided that there is an imminent peril to life or
                                     property. The applicant and owner shall be notified of such action, with a copy
                                     of such notification forwarded to the Department's Office of Investigations and
                                     Discipline (IAD).

                                     4. Susr2emsion or Exclusion from the Professional Certification
                                     Procedures:

                                     In addition to taking action on particular permit applications, Borough
                                     Commissioners and/or the Executive Director of the Tecrrnical Compliance Unit
                                     shall forward to the Deputy Commissioner for Technical Affairs the names of,
                                     and supporting documentation with respect to, those PEs and RAs whose

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                                     participation in the professional certification procedures evidences grounds for 0530
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                              suspension or exclusion pursuant to 1 RCNY §21-02. The Deputy
                              Commissioner for Technical Affairs shall review the evidence and make a
                              recommendation to the Commissioner as to appropriate action. The
                              Commissioner may suspend or exclude a PE/RA in accordance with 1 RCNY
                              §21-02. Additionally, if this recommendation includes disciplinary action,
                              including but not limited to exclusion or suspension of the PE/RA from
                              professional certification or criminal prosecution, copies shall be forwarded
                              immediately to IAD and to the New York City Department of Investigation (Doi).

                                     Final determination disciplining PEs and/or RAs under the terms of this section
                                     shall be forwarded to both Doi and the New York State Office of Professional
                                     Discipline.

                                     POC-1 Form




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 Buildings
NYC Buildings Department
280 Broadway, New York, NY 10007

Rick D. Chandler, P.E., Commissioner



                                    BUILDINGS BULLETIN 2016-010
                                                       Operational


       Supersedes:        Operations Policy and Procedure Notice #1/04

             Issuer:      Thomas Fariello, RA            I /\
                          First Deputy Commissioner <----1~2.--z--v c:fa--

     lssuance Date:       April 8, 2016

          Purpose:        This bulletin revises the established operational procedures for the Professional
                          Certification Program, which allows a Professional Engineer (PE) or Registered
                          Architect (RA), as an applicant, to certify the job's compliance with the New York City
                          Construction Codes, Zoning Resolution and all applicable laws and rules on related
                          application(s).

      Related Code         AC 28-104.2.1       AC 28-104.7         1 RCNY 21-02     MC 106        PC 106
        Section(s):        AC 28-104.2.2       AC 28-104.8         BC 107           FGC 106       FC 105

         Subject(s):      Professional Certification Program



1.   Background
     The Department of Buildings (Department) instituted a Professional Certification Program since 1995,
     under which construction and other submittal documents are accepted with no Department examination
     based on the professional certification of an applicant who is a Registered Design Professional (RDP), i.e.
     a New York State licensed Professional Engineer or Registered Architect (PEs/RAs). Participation in the
     program calls for the display of appropriate standards of professional competence and integrity by the
     licensed professional who must have both knowledge and experience with the New York City
     Construction Codes, the New York City Zoning Resolution, the Department's rules, and any other
     applicable laws and rules.

2.   Professional Certification Program and Limitations
      By participating in the program, the applicant acknowledges his or her obligation to comply with the
      construction documents and submission requirements set forth in sections AC 28-104.7 and 28-104.8;
      Building Code section 107; Mechanical Code section 106; Fuel Gas Code section 106; Plumbing Code
      section 106; and Fire Code section 105.

      All professionally certified applications or submissions of construction documents for architectural,
      mechanical, structural, excavation and earthwork, and plumbing work must be complete, coordinated, and
      in accordance with code, zoning and all other applicable laws and rules. Refer to Plan Examination
      Guidelines for Minimum Requirements for Review of Design Drawings (available on DOB website:
      http://www1.nyc.gov/assets/buildings/pdf/plan_exam_user_guide.pdf).



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     The Department's acceptance of a submission under the professional certification program and in
     accordance with sections AC 28-104.2.1 and 28-104.2.2, shall have the same force and effect as the
     approval of construction documents after full examination by the Department. The Department will rely on
     the truth and accuracy of statements contained in the professionally certified application of the registered
     design professional, and any amendments submitted in connection therewith, as verification of
     compliance with the provisions of the Zoning Resolution, the New York City Construction Codes, and all
     other applicable laws and rules.

      A. Excluded Work
         The following work applications cannot be professionally certified:
          i. Subdivisions.
          ii.   Full demolitions and applications containing demolition work that includes the use of mechanical
                equipment, other than handheld equipment, per BC section 3306.5.
         iii.   Applications for work on projects that require, or are related to projects that require approval,
                permit, or another type of determination from the Board of Standards and Appeals (BSA).
      B. Project Responsibility and Withdrawal
         The applicant, a RDP who is participating in the program, shall be responsible for the project's code
         compliant design until a letter of completion or certificate of occupancy is issued, except as provided
         below:
         1. Withdrawal: If an applicant withdraws responsibility from a professionally certified project, the
             Department must be notified immediately. All work shall stop and no permit renewal, letter of
             completion or certificate of occupancy shall be allowed until a successor RDP is designated as
             the applicant of record; or
         2.     Revocation: When the Department revokes an applicant's professional certification privileges,
                the applicant may continue responsibility only for applications that were permitted prior to the
                revocation, and provided a PAA is not filed after the revocation. See section 5 of this Bulletin.

      C. Zoning Audit of New Building, Alteration Type-1 and Enlargements
         Professionally certified New Building, Alteration Type 1 and other enlargement applications are
         subject to a zoning audit by the Department, prior to acceptance, as outlined in Section 4 of this
         Bulletin.

3.    Operational Guidelines

      A. Application Submission for Acceptance
         In addition to an application complying with all of the applicable requirements and guidelines in effect
         at the time of its submission, a professionally certified application of construction documents and
         other submittals must also include the following:
         i. Professional and Owner Certification: Certification from the RDP and statement and signature of
            the owner to submit a professionally certified application.
          ii.   Required Items Checklist for Professional Certification.
          iii. Approvals, permits and/or certifications from other governmental agencies submitted prior to
               acceptance of the professionally certified application.
         iv.    If applicable, any written determinations, easements and declarations, and zoning lot exhibits.


      8. Permits
            Once the professionally certified application is accepted and all applicable fees are paid, a permit will
            be issued.



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   C. Post Approval Amendments
      Any Post Approval Amendments (PAAs) shall be professionally certified. Such PAA submissions
      shall include all changes and amendments to the construction documents of the previously accepted
      application. PAAs shall be restricted to the following:
      a) Changes required in the previously accepted application's work due to unforeseen field
          conditions.
         b) Deliberate modifications, of a limited nature, to the project's initial scope of work.
         c)     Changes needed to comply with audit comments, as outlined in Section 4.C of this Bulletin.

4. Audit of Professionally Certified Applications
   All professionally certified applications are subject to audit. An audit of a professionally certified
   application may be conducted at any time based on the following audit process.
    A. Audit Process
       A selection of professionally certified applications, including Post Approval Amendments, will be
       audited according to the following types:
          i.    Zoning Audits: Prior to acceptance, all professionally certified New Building, Alteration Type 1,
                enlargement alteration applications and zoning-related PAAs, are subject to a zoning audit.
          ii.   Program Audits: A representative sample of professionally certified applications, including
                PMs, will be selected for audit upon issuance of permit(s).
         iii.   Targeted Audits: In addition to the above, the Department may perform a targeted audit
                of professionally certified applications based upon receipt of a complaint, evidence of
                non-compliance, or at the discretion of the Commissioner.


         If the auditor finds no objection to the application, the audit of the selected application will be
         recorded as "Accepted" and no further action will be taken.

    B. Failed Audits
       If an auditor fails the application or conditionally accepts it with minor objections, an objection sheet
       is sent to the applicant, owner and filing representative. For failed audits, the Department may send
       a 15-day "Notice - Intent to Revoke" and in addition, a stop-work order may also be issued at the
       discretion of the Commissioner.

    C. Resolving Objections
       The applicant must resolve comments/objections with the auditor. The applicant may be required to
       file a PAA with the latest revision of the Additional Information (Al) form that clearly explains how the
       construction documents, forms, reports, certifications, etc., were added or modified to address all of
       the auditor's comments /objections.

    D. Failure to Resolve Objections/ Revocation of Permit
       If the comments/objections are not resolved to the satisfaction of the auditor following the scheduled
       meeting, the Commissioner shall revoke the permit(s), approval, and/or acceptance of the
       application and construction documents. If permit(s) have been issued, a stop-work order shall be
       issued at the discretion of the Borough Commissioner.

          If the applicant fails to respond to the auditor, neglects to schedule a meeting to address any
          comments/objections, or if the applicant cannot resolve the issues in a timely manner, the
          Department may determine that any permit and/or acceptance of the construction documents was in


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         error, and the Commissioner may issue a Notice of Revocation letter and a stop work order, revoking
         the permit, approval and/or acceptance of the application and construction documents.

         Reinstatement:
         After an application is revoked, if the owner hires a new applicant to continue the project, a revised
         design drawing is required. However, if the owner wishes to continue the project with the same
         applicant, a revised design drawing may be required. The applicant and owner must obtain approval
         by the Commissioner to reinstate such an application and pay the applicable reinstatement fee.


5.   Discipline / Exclusion from the Professional Certification Program

     The Department may, after a hearing at the Office of Administrative Trials & Hearings, suspend, exclude
     or otherwise condition the professional certification privileges of an RDP as outlined in section AC 28-
     104.2.1.3.2 and 1 RCNY §21-02. The Department will refer evidence of wrongdoing to the New York
     City Department of Investigation for criminal prosecution as warranted and to the New York State Office
     of Professional Discipline for their disciplinary action.




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